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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                  MDL NO 2924
    PRODUCTS LIABILITY                                                           20-MD-2924
    LITIGATION
                                                         JUDGE ROBIN L ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE REINHART

    __________________________________/


                    ORDER GRANTING DEFENDANTS’ MOTION
        TO DISMISSAND/OR STRIKE MASTER PERSONAL INJURY COMPLAINT
         ON GROUNDS OF IMPERMISSIBLE SHOTGUN PLEADING; GRANTING
          IN PART AND DENYING IN PART DEFENDANTS’ AMENDED MOTION
        TO DISMISS AND/OR STRIKE CONSOLIDATED CONSUMER AND THIRD
       PARTY CLASS ACTION COMPLAINTS ON GROUNDS OF IMPERMISSIBLE
           SHOTGUN PLEADING AND LACK OF ARTICLE III STANDING; AND
    DENYING GENERIC MANUFACTURERS’ AND REPACKAGERS’ RULE 12 MOTION
      TO DISMISS CONSOLIDATED CONSUMER AND THIRD-PARTY PAYOR CLASS
     ACTION COMPLAINTS ON THE GROUND OF FAILURE TO ALLEGE AN INJURY

           This matter is before the Court upon three motions: (1) Defendants’ Motion to Dismiss

    and/or Strike Master Personal Injury Complaint on Grounds of Impermissible Shotgun Pleading

    and Incorporated Memorandum of Law [DE 1588] (the “MPIC Shotgun Motion”); (2) Defendants’

    Amended Motion to Dismiss and/or Strike Consolidated Consumer and Third Party Payor Class

    Action Complaints on Grounds of Impermissible Shotgun Pleading and Lack of Article III

    Standing and Incorporated Memorandum of Law [DE 1630] (the “Shotgun/Standing Motion”);

    and (3) Generic Manufacturers’ and Repackagers’ Rule 12 Motion to Dismiss Consolidated

    Consumer and Third-Party Payor Class Action Complaints on the Ground of Failure to Allege an

    Injury and Incorporated Memorandum of Law [DE 2037] (the “Injury Motion”). All “Defendants”

    named in the Master Personal Injury Complaint (“MPIC”) bring the MPIC Shotgun Motion (the

    “MPIC Shotgun Defendants”). All “Defendants” named in the Consolidated Consumer Class

    Action Complaint (“CCCAC”) and the Consolidated Third Party Payor Class Complaint
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    (“CTPPCC”) bring the Shotgun/Standing Motion (collectively, the “Shotgun/Standing

    Defendants”). 1 The “Generic Manufacturer Defendants” and “Repackager Defendants,” as those

    groups are defined in the CCCAC and CTPPCC, bring the Injury Motion (the “Injury

    Defendants”). 2

            On December 14, 2020, the Court held a hearing on the MPIC Shotgun Motion, the

    Shotgun/Standing Motion, and the Injury Motion (the “Hearing”). The Court has carefully

    considered: (1) the MPIC Shotgun Motion and the parties’ briefing [DE 1974; DE 2130]; (2) the

    Shotgun/Standing Motion and the parties’ briefing [DE 1980; DE 2129]; and (3) the Injury Motion

    and the parties’ briefing [DE 2242; DE 2321], including the briefing on the Brand-Name

    Manufacturer Defendants’ joinder in the Injury Motion [DE 2157; DE 2300; DE 2333]. For the

    reasons set forth below, the MPIC Shotgun Motion is GRANTED, the Shotgun/Standing Motion

    is GRANTED IN PART AND DENIED IN PART, and the Injury Motion is DENIED.

                                             I. Factual Background 3

            This case concerns the pharmaceutical product Zantac and its generic forms, which are

    widely sold as heartburn and gastric treatments. The molecule in question—ranitidine—is the

    active ingredient in both Zantac and its generic forms.

            Zantac has been sold since the early 1980’s, first by prescription and later as an over-the-

    counter medication (“OTC”). In 1983, the U.S. Food and Drug Administration (“FDA”) approved

    the sale of prescription Zantac. MPIC ¶¶ 226, 231, 432. GlaxoSmithKline (“GSK”) first developed


     1
       The CCCAC and CTPPCC are collectively referred to herein as the “Class Complaints.”
     2
       On October 8, 2020, the Retailer, Pharmacy, and Distributor Defendants joined the Injury Motion. DE 2044 at 12
     n.2; DE 2045 at 14. On October 26, 2020, the Brand-Name Manufacturer Defendants joined the Injury Motion. DE
     2157.
     3
       A court must accept a plaintiff’s factual allegations as true at the motion–to–dismiss stage. West v. Warden, 869
     F.3d 1289, 1296 (11th Cir. 2017) (“When considering a motion to dismiss, we accept as true the facts as set forth in
     the complaint and draw all reasonable inferences in the plaintiff’s favor.” (quotation marks omitted)). Plaintiffs
     have set forth their factual allegations in three “master” complaints: the MPIC, the CCCAC, and the CTPPCC
     (collectively “Master Complaints”). DE 887, 888, 889.


                                                             2
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    and patented Zantac. Id. ¶ 230. Zantac was a blockbuster – the first prescription drug in history to

    reach $1 billion in sales. Id. ¶ 231.

            GSK entered into a joint venture with Warner-Lambert in 1993 to develop an OTC form

    of Zantac. Id. ¶ 233. Beginning in 1995, the FDA approved the sale of various forms of OTC

    Zantac. Id. ¶¶ 233, 237. The joint venture between GSK and Warner-Lambert ended in 1998, with

    Warner-Lambert retaining control over the sale of OTC Zantac in the United States and GSK

    retaining control over the sale of prescription Zantac in the United States. Id. ¶ 234. Pfizer acquired

    Warner-Lambert in 2000 and took control of the sale of OTC Zantac in the United States. Id. ¶ 235.

    The right to sell OTC Zantac in the United States later passed to Boehringer Ingelheim

    Pharmaceuticals and then to Sanofi. Id. ¶¶ 239-40, 242-44. When the patents on prescription and

    OTC Zantac expired, numerous generic drug manufacturers began to produce generic ranitidine

    products in prescription and OTC forms. Id. ¶¶ 249-51.

            Scientific studies have demonstrated that ranitidine can transform into a cancer-causing

    molecule called N-nitrosodimethylamine (“NDMA”), which is part of a carcinogenic group of

    compounds called N-nitrosamines. Id. ¶¶ 253, 321, 324, 331. Studies have shown that these

    compounds increase the risk of cancer in humans and animals. Id. ¶¶ 253, 264-72. The FDA, the

    Environmental Protection Agency, and the International Agency for Research on Cancer consider

    NDMA to be a probable human carcinogen. Id. ¶¶ 254, 258. The FDA has set the acceptable daily

    intake level for NDMA at 96 nanograms. Id. ¶¶ 4, 263.

            Valisure LLC and ValisureRX LLC, a pharmacy and testing laboratory, filed a Citizen

    Petition on September 9, 2019, calling for the recall of all ranitidine products due to high levels of

    NDMA in the products. Id. ¶ 285. The FDA issued a statement on September 13 warning that

    some ranitidine products may contain NDMA. Id. ¶ 286. On November 1, the FDA announced




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    that testing had revealed the presence of NDMA in ranitidine products. Id. ¶ 296. The FDA

    recommended that drug manufacturers recall ranitidine products with NDMA levels above the

    acceptable daily intake level. Id. Six months later, on April 1, 2020, the FDA requested the

    voluntary withdrawal of all ranitidine products from the market. Id. ¶ 301.

                                      II. Procedural Background

           After the discovery that ranitidine products may contain NDMA, plaintiffs across the

    country began initiating lawsuits related to their purchase and/or use of the products. On February

    6, 2020, the United States Judicial Panel on Multidistrict Litigation created this multi-district

    litigation (“MDL”) pursuant to 28 U.S.C. § 1407 for all pretrial purposes and ordered federal

    lawsuits for personal injury and economic damages from the purchase and/or use of ranitidine

    products to be transferred to the undersigned. DE 1. Since that time, hundreds of plaintiffs have

    filed lawsuits in, or had their lawsuits transferred to, the United States District Court for the

    Southern District of Florida. In addition, this Court has created a Census Registry where thousands

    of claimants who have not filed lawsuits have registered their claims. See DE 547.

           Plaintiffs filed three Master Complaints on June 22, 2020. DE 887, 888, 889. They contend

    that the ranitidine molecule is unstable, breaks down into NDMA, and has caused thousands of

    consumers of ranitidine products to develop various forms of cancer. MPIC ¶¶ 1, 6, 19. They

    allege that “a single pill of ranitidine can contain quantities of NDMA that are hundreds of times

    higher” than the FDA’s allowable limit. Id. ¶ 4. They are pursuing federal claims and state claims

    under the laws of all 50 U.S. states, Puerto Rico, and the District of Columbia. See generally

    CCCAC.

           The Court has entered numerous Pretrial Orders to assist in the management of this MDL.

    In Pretrial Order # 30, the Court set a case management schedule that is intended to prepare the




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    MDL for the filing of Daubert motions on general causation and class certification motions in

    December 2021. DE 875; see generally Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579

    (1993). In Pretrial Order # 36, the Court set a schedule for the filing and briefing of motions to

    dismiss under Rule 12 directed to the Master Complaints. DE 1346. Pursuant to that schedule, the

    various defendants filed the motions to dismiss discussed herein.

                                          III. The Master Complaints

    A. Master Personal Injury Complaint

           All individuals who file a Short Form Complaint (collectively, the “MPIC Plaintiffs”)

    adopt the MPIC. MPIC at 2. 4 The MPIC Plaintiffs allege that they developed cancers from taking

    the MPIC Shotgun Defendants’ ranitidine products. Id. at 1. The MPIC “sets forth allegations of

    fact and law common to the personal-injury claims” within the MDL. Id. at 1. Each MPIC Plaintiff

    individually seeks compensatory damages, punitive damages, restitution, and all other available

    remedies. Id. at 1-2.

            The MPIC Shotgun Defendants are entities that “designed, manufactured, marketed,

    distributed, labeled, packaged, handled, stored, and/or sold ranitidine.” Id. ¶ 20. They are

    categorized by the MPIC Plaintiffs into five groups: (1) Brand-Name Manufacturer Defendants;

    (2) Generic Manufacturer Defendants; (3) Distributor Defendants; (4) Retailer Defendants; and

    (5) Repackager Defendants. Some MPIC Shotgun Defendants belong to multiple categories. 5

    Within each category, the MPIC combines distinct corporate entities, including parents,




     4
       Unless noted otherwise, all page number references herein are to the page numbers generated by CM/ECF in the
     header of each document.
     5
       For example, AmerisourceBergen is named as both a Generic Manufacturer Defendant and a Distributor Defendant.
     MPIC at 15 n.3.



                                                          5
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    subsidiaries, and affiliates, into single named MPIC Shotgun Defendants. 6 Certain allegations

    apply to MPIC Shotgun Defendants across multiple groups. 7

            The MPIC contains 15 counts: Strict Products Liability—Failure to Warn (Count I), Strict

    Products Liability—Design Defect (Count II), Strict Products Liability—Manufacturing Defect

    (Count III), Negligence—Failure to Warn (Count IV), Negligence Product Design (Count V),

    Negligent    Manufacturing        (Count     VI),    General     Negligence      (Count     VII),    Negligent

    Misrepresentation (Count VIII), Breach of Express Warranties (Count IX), Breach of Implied

    Warranties (Count X), Violation of Consumer Protection and Deceptive Trade Practices Laws

    (Count XI), Unjust Enrichment (Count XII), Loss of Consortium (Count XIII), Survival Actions

    (Count XIV), and Wrongful Death (Count XV). Counts I, II, IV, VII, IX, X, XI, XII, XIII, XIV

    and XV are brought against every MPIC Shotgun Defendant. Counts V and VIII are brought

    against every Brand-Name Manufacturer, Generic Manufacturer and Repackager Defendant.

    Counts III and VI are brought against every Brand-Name Manufacturer and Generic Manufacturer

    Defendant.

    B. Consolidated Consumer Class Action Complaint

            One hundred and eighty-three named individuals (collectively, the “CCCAC Plaintiffs”)

    bring the CCCAC on behalf of themselves and all others similarly situated. 8 The CCCAC

    Plaintiffs are citizens of nearly every state, the District of Columbia, and Puerto Rico. There are

    no CCCAC Plaintiffs who reside in or purchased ranitidine products from Delaware, Hawaii,



     6
       For example, CCCAC Defendant “Sanofi” refers to five entities: Sanofi-Aventis U.S. LLC, Sanofi US Services
     Inc., Sanofi S.A., Patheon Manufacturing Services LLC, and Boehringer Ingelheim Promeco, S.A. de C.V. MPIC ¶
     36.
     7
       See, e.g., MPIC ¶ 44 (allegations referring to Repackager Defendants apply to Ajanta, a Generic Manufacturer
     Defendant).
     8
       The CCCAC originally had 238 named plaintiffs, but 55 were subsequently dismissed without prejudice. See Order
     Granting Plaintiffs’ Unopposed Motion to Drop Certain Plaintiffs from Consolidated Consumer Class Action
     Complaint, DE 2241.


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    Kansas, Maine, North Dakota, Rhode Island, or South Dakota. Each CCCAC Plaintiff asserts that

    he or she purchased and/or used a ranitidine product during an approximate timeframe.

           The CCCAC Plaintiffs bring the action in their individual capacities and on behalf of

    numerous classes pursuant to Rule 23. Among the various classes are two nationwide classes: (1)

    the “RICO Class,” comprised of “[a]ll residents of the United States or its territories who purchased

    for personal, family, or household use any of Brand-Name Manufacturer Defendants’ Ranitidine-

    Containing Products in the United States or its territories”; and (2) the “Nationwide Class,”

    comprised of “[a]ll residents of the United States or its territories who purchased and/or used for

    personal, family, or household use, any of the Defendants’ Ranitidine-Containing Products in the

    United States or its territories.” CCCAC ¶ 734. The CCCAC alleges that as an alternative, and/or

    in addition to, the Nationwide Class, the CCCAC Plaintiffs bring the action in their individual

    capacities and on behalf of “State Classes” for all fifty states, the District of Columbia, and Puerto

    Rico. Id. ¶ 737. Each State Class is comprised of “[a]ll residents of [State or Territory] who

    purchased and/or used for personal, family, or household use, any of the Defendants’ Ranitidine-

    Containing Products in the United States or its territories.” Id.

           The defendants named in the CCCAC are entities that “invented, manufactured,

    distributed, labeled, marketed, advertised, . . . stored, and sold ranitidine.” Id. ¶ 259. They are

    categorized by the CCCAC Plaintiffs into five groups: (1) Brand-Name Manufacturer Defendants;

    (2) Generic Manufacturer Defendants; (3) Distributor Defendants; (4) Retailer Defendants; and

    (5) Repackager Defendants (collectively, the “CCCAC Defendants”). Some CCCAC Defendants

    belong to multiple categories. Within each category, the CCCAC combines distinct corporate

    entities, including parents, subsidiaries, and affiliates, into single named CCCAC Defendants.

    Certain allegations apply to CCCAC Defendants across multiple groups.




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           The CCCAC alleges 314 counts against the CCCAC Defendants. The CCCAC Plaintiffs

    allege Count 1 (RICO) on behalf of the RICO Class against the Brand-Name Manufacturer

    Defendants. Id. ¶ 750. The CCCAC Plaintiffs allege Count 2 (unjust enrichment) and Count 3

    (Magnuson-Moss Warranty Act) on behalf of the Nationwide Class against all CCCAC

    Defendants. Id. ¶¶ 795, 804. Alternatively, they bring Count 2 “on behalf of themselves under the

    laws of the state in which each [CCCAC] Plaintiff resides and/or purchased Ranitidine-Containing

    Products, and on behalf of a Class comprised of members from each [CCCAC] Plaintiff’s

    respective state.” Id. ¶ 795. The CCCAC Plaintiffs allege Count 4 (fraud) on behalf of the

    Nationwide Class against the Brand-Name Manufacturer Defendants, the Generic Manufacturer

    Defendants, and the Repackager Defendants. Id. ¶ 823. Alternatively, they bring Count 4 “on

    behalf of themselves under the laws of the state in which each [CCCAC] Plaintiff resides and/or

    purchased Ranitidine-Containing Products, and on behalf of each State Class.” Id. The CCCAC

    Plaintiffs allege Count 5 (negligence) and Count 6 (battery) on behalf of numerous State Classes

    against all CCCAC Defendants. Id. ¶¶ 839, 886. Finally, the CCCAC Plaintiffs allege Counts 7

    through 314 (including breach of express and implied warranties; failure to warn; manufacturing

    defects; design defects; state consumer protection violations; deceptive trade practices; and

    medical monitoring) on behalf of the various State Classes against some or all of the CCCAC

    Defendants. Id. ¶¶ 906-5899.

    C. Consolidated Third-Party Payor Class Complaint

           The NECA-IBEW Welfare Trust Fund, the Plumbers & Pipefitters Local Union 630, and

    the Indiana Laborers Welfare Fund (collectively, the “CTPPCC Plaintiffs”) bring the CTPPCC on

    behalf of themselves and all others similarly situated. CTPPCC at 8. The CTPPCC Plaintiffs are

    entities that provide eligible members with health and welfare benefits, such as paying and




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    reimbursing for prescription drugs on behalf of their members and dependents. Each CTPPCC

    Plaintiff’s members have filled prescriptions requiring reimbursement for ranitidine products in

    several states.

            The CTPPCC Plaintiffs bring the action on behalf of a “Nationwide TPP Class” comprised

    of:

            All health insurance companies, third-party administrators, health maintenance
            organizations, self-funded health and welfare benefit plans, third party payors and
            any other health benefit provider, in the United States of America and its territories,
            which paid or incurred costs for prescription Zantac or the Generic Manufacturer
            Defendants’ Ranitidine-Containing Products for purposes other than resale since
            their respective approval dates.

    Id. ¶ 506. As an alternative and/or in addition to the Nationwide TPP Class, the CTPPCC Plaintiffs

    bring the action in their individual capacities and on behalf of state classes for all fifty states, the

    District of Columbia, and Puerto Rico (“State CTPPCC Classes”). Id. ¶ 508. Each State CTPPCC

    Class is comprised of:

            All health insurance companies, third-party administrators, health maintenance
            organizations, self-funded health and welfare benefit plans, third party payors and
            any other health benefit provider, in the United States of America and its territories,
            which paid or incurred costs for prescription Zantac or the Generic Manufacturer
            Defendants’ Ranitidine-Containing Products for purposes other than resale since
            their respective approval dates.

    Id. The Nationwide TPP Class and the State CTPPCC Classes are collectively referred to in the

    CTPPCC as the “TPP Class” or “Classes.” Id. ¶ 511.

            The defendants named in the CTPPCC are companies that “invented, made, distributed,

    labeled, marketed, advertised, . . . stored, and sold ranitidine.” Id. ¶ 29. They are categorized by

    the CTPPCC Plaintiffs into two groups: (1) Brand-Name Manufacturer Defendants, and (2)

    Generic Manufacturer Defendants (collectively, the “CTPPCC Defendants”).                  Within each




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    category, the CTPPCC combines distinct corporate entities, including parents, subsidiaries, and

    affiliates, into single named CTPPCC Defendants.

           The CTPPCC Plaintiffs allege nine counts against the CTPPCC Defendants: Count 1

    (RICO); Count 2 (breach of express warranties); Count 3 (breach of implied warranties); Count 4

    (Magnuson-Moss Warranty Act); Count 5 (fraud); Count 6 (negligent misrepresentation and

    omission); Count 7 (violations of state consumer protection laws); Count 8 (unjust enrichment);

    and Count 9 (negligence). The CTPPCC Plaintiffs allege Count 1 on behalf of the TPP Class

    against the Brand-Name Manufacturer Defendants. The CTPPCC Plaintiffs allege Counts 2-9 on

    behalf of the TPP Class against GSK and the Generic Manufacturer Defendants.

                               IV. Summary of the Parties’ Arguments

    A. MPIC Shotgun Motion

           The MPIC Shotgun Defendants seek to dismiss and/or strike the MPIC. They argue that

    the MPIC fails in two primary respects. First, it indiscriminately lumps the MPIC Shotgun

    Defendants’ conduct together—including distinct corporate entities—and “utterly fails to

    distinguish the alleged liability-creating conduct of one [MPIC Shotgun] Defendant from another.”

    DE 1588 at 6. Second, each MPIC count adopts the allegations of all preceding counts. In doing

    so, the MPIC violates Rules 8 and 9(b) and frustrates the purpose of an MDL.

           In response, the MPIC Plaintiffs argue that the MPIC Shotgun Defendants have not

    identified a shotgun pleading problem based on Eleventh Circuit caselaw. The MPIC Shotgun

    Defendants’ targeted motions to dismiss are proof that they received adequate notice of the claims

    against them. Moreover, the manner in which the MPIC Shotgun Defendants are grouped is

    consistent with Rule 8 and appropriate for an MDL of this complexity. Nor is Rule 9(b) violated,

    since the MPIC provides notice of each MPIC Shotgun Defendant’s specific misrepresentations.




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    Further, grouping corporate entities is permissible, particularly when the MPIC Plaintiffs can only

    learn of the divisions between entities through discovery. Finally, each MPIC claim is clear as to

    which MPIC Shotgun Defendants it applies.

    B. Shotgun/Standing Motion

              The Shotgun/Standing Defendants ask the Court to dismiss and/or strike the Class

    Complaints and order the CCCAC Plaintiffs and CTPPCC Plaintiffs (collectively, when discussing

    the Shotgun/Standing Motion, the “Shotgun/Standing Plaintiffs”) to replead in compliance with

    Rules 8 and 9, Article III, and the Eleventh Circuit’s prohibitions against shotgun pleading. They

    argue that the Class Complaints should be dismissed or stricken as impermissible shotgun

    pleadings, since they fail to provide a short and plain statement of claims as required by Rule 8,

    and thus fail to provide adequate notice of the claims against each Shotgun/Standing Defendant

    and the grounds upon which each claim rests.

              The Shotgun/Standing Defendants further argue that the Class Complaints should also be

    dismissed or stricken for lack of Article III standing. Each named Shotgun/Standing Plaintiff must,

    but cannot, independently meet the requirements for Article III standing—injury in fact,

    traceability, and redressability—as to each claim asserted against each Shotgun/Standing

    Defendant. Each claim must be analyzed separately, and a claim cannot be asserted on behalf of

    a class unless at least one named Shotgun/Standing Plaintiff has suffered the injury giving rise to

    the claim. The Shotgun/Standing Plaintiffs have ignored the traceability requirement for Article

    III standing and thus failed to plausibly allege that each named Shotgun/Standing Plaintiff has

    standing to sue each Shotgun/Standing Defendant. Nor are the Shotgun/Standing Plaintiffs saved

    by the juridical link doctrine, 9 since the doctrine neither confers Article III standing nor applies



     9
         The juridical link doctrine is discussed in detail below. See discussion infra Section VIII.B.3.


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    here. Finally, the Shotgun/Standing Plaintiffs lack standing to assert claims on behalf of putative

    class members whose claims arise under other states’ laws.

           In response, the Shotgun/Standing Plaintiffs argue that the Shotgun/Standing Defendants

    fail to show that they are deprived of the requisite notice. Despite the challenges posed by this

    MDL, the Class Complaints do not meaningfully commit any of the “sins” recognized by the

    Eleventh Circuit as indicia of shotgun pleadings, and instead provide the Shotgun/Standing

    Defendants adequate notice of the claims against them. Moreover, the Shotgun/Standing Plaintiffs

    have plausibly pled Article III standing and thus made the requisite showing at this stage of the

    litigation. Through the juridical link doctrine, the Shotgun/Standing Plaintiffs can allege claims

    on behalf of others with the same injury against every culpable defendant. And at this stage, they

    need not allege with certainty which Shotgun/Standing Defendant harmed them.

    C. Injury Motion

           The Injury Defendants argue that the Class Complaints must be dismissed in their entirety

    for failure to allege a cognizable injury. Instead of alleging a personal injury or another legally

    cognizable injury, the Class Complaints affirm ranitidine’s efficacy, for it “did exactly what it was

    supposed to do without physically injuring any Class Plaintiffs,” and thus the CCCAC Plaintiffs

    and CTPPCC Plaintiffs (collectively, when discussing the Injury Motion, the “Injury Plaintiffs”)

    received the benefit of their bargain. DE 2037 at 6. Even if the Injury Plaintiffs could allege

    personal injuries, those claims must be placed in the MPIC rather than the CCCAC. Moreover,

    the tort-based claims in the CTPPCC must be dismissed pursuant to the economic loss doctrine,

    which forecloses such claims for purely economic losses relating to the product, absent personal

    injury or damage to other property. Lastly, the Court should dismiss the CCCAC Plaintiffs’




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    requests for injunctive relief, namely those for medical monitoring and the removal of ranitidine

    from the market, since the former is actually a monetary remedy and the latter is already complete.

             The Injury Plaintiffs respond by noting that they assert multiple theories for injury in fact.

    They state that they suffered an economic injury, (i.e., a “pocketbook injury”) by paying for

    misbranded and/or adulterated ranitidine products that should not have been available for sale, and

    which were economically worthless. Further, they plausibly allege other forms of cognizable

    injuries, including economic losses due to ongoing medical monitoring, and physical injuries

    including cellular damage, subcellular damage, and increased risk of developing cancer. Those

    claims need not be replead in the MPIC, since they are class claims and moving them would not

    streamline the MDL. Regarding the economic loss doctrine, the Injury Defendants fail to explain

    which states apply the version of the rule they argue for, and under what circumstances. Lastly,

    the Injury Plaintiffs have properly pled available remedies, and the Injury Defendants’ attempt to

    dismiss the CCCAC claims for injunctive relief is not actually an attempt to dismiss anything, but

    rather a preview of their Rule 23 arguments. Finally, the request for the Injury Defendants to cease

    marketing and selling ranitidine is not moot.

                                   V. Summary of the Court’s Rulings

             The Court concludes that the MPIC is an impermissible shotgun pleading. The Court

    grants the MPIC Shotgun Motion, and the MPIC is dismissed without prejudice and with leave to

    amend.

             The Court concludes that the Class Complaints are both impermissible shotgun pleadings.

    The Court grants the Shotgun/Standing Motion in part, and the Class Complaints are dismissed

    without prejudice and with leave to amend. Because the current Class Complaints are shotgun

    pleadings and the Shotgun/Standing Plaintiffs are given leave to amend, the Court cannot




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    undertake a full Article III standing analysis and thus denies the Shotgun/Standing Motion in part,

    but can reach conclusions as to certain issues raised by the parties.

                The Court denies the Injury Motion. The Court concludes that the Injury Plaintiffs have

    plausibly alleged an injury in fact as to their “Medical Monitoring” claims by alleging economic

    losses and expenses due to ongoing medical monitoring. However, given the allegations of

    personal injuries, the Court concludes that these claims do not belong in the CCCAC. All claims

    and allegations of physical injury and medical monitoring, including Counts 45, 67, 139, 167, 238,

    280 and 302, are thus stricken without prejudice from the CCCAC. 10 The Injury Plaintiffs may

    seek leave of Court for an alternative pleading to allege their class physical injury and/or medical

    monitoring claims. The Court declines to reach conclusions as to the Injury Plaintiffs’ other

    theories of injury at this juncture. Finally, Court denies the Injury Defendants’ request to dismiss

    the injunctions sought for medical monitoring and ceasing sales and marketing of ranitidine

    products.

                                                  VI. Standards of Review

    A. Rule 12(b)(1)

                Federal courts are courts of limited jurisdiction. “[B]ecause a federal court is powerless to

    act beyond its statutory grant of subject matter jurisdiction, a court must zealously insure that



    10
          See, e.g., CCCAC ¶ 723 (“[A]s a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and the
         Class members who ingested Defendants’ Ranitidine-Containing Products have suffered physical damages in the
         form of cellular, sub-cellular, and or/genetic injuries that significantly increased their risk of developing various
         types of serious and potentially deadly cancers.”); CCCAC ¶ 834 (“Defendants’ fraudulent conduct directly and
         proximately caused Plaintiffs and the Class to: (a) be subjected to the accumulation of NDMA in their bodies,
         including the resulting cellular damage, subcellular damage, and related symptoms; and (b) sustain a significantly
         increased risk of developing various types of serious and potentially deadly cancers.”); CCCAC ¶ 1524 (“As a direct
         and proximate result of Defendants‘ actions and omissions, Plaintiffs and the members of the Class have suffered
         physical injury, have a significantly increased risk of developing serious and potentially deadly cancers, and have
         suffered and will suffer economic losses and expenses associated with ongoing medical monitoring.”); CCCAC ¶
         1527 (“Plaintiffs’ exposure to Ranitidine-Containing Products has significantly increased their risk of developing
         various types of serious and potentially deadly cancers and caused them bodily injury in the form of cellular, sub-
         cellular, and/or genetic injuries.”).


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    jurisdiction exists over a case, and should itself raise the question of subject matter jurisdiction at

    any point in the litigation where a doubt about jurisdiction arises.” Smith v. GTE Corp., 236 F.3d

    1292, 1299 (11th Cir. 2001).

    B. Rule 12(b)(6)

           A court may grant a motion to dismiss a pleading if the pleading fails to state a claim upon

    which relief can be granted. Fed. R. Civ. P. 12(b)(6). A court ruling on a motion to dismiss accepts

    the well-pled factual allegations as true and views the facts in the light most favorable to the

    plaintiff. Jones v. Fransen, 857 F.3d 843, 850 (11th Cir. 2017). But the court need not accept legal

    conclusions couched as factual allegations. Diverse Power, Inc. v. City of LaGrange, 934 F.3d

    1270, 1273 (11th Cir. 2019). “Under Rule 12(b)(6), dismissal is proper when, on the basis of a

    dispositive issue of law, no construction of the factual allegations will support the cause of action.”

    Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir. 2015) (quotation marks omitted).

                               VII.    Analysis of MPIC Shotgun Motion

    A. Arguments and Allegations

           The MPIC Shotgun Defendants argue that the MPIC violates Rule 8 by indiscriminately

    lumping all MPIC Shotgun Defendants together. DE 1588 at 10. They note that 11 of the 15 counts

    are brought against every MPIC Shotgun Defendant, while the other 4 counts are against broad

    subgroups, namely the Brand-Name Manufacturer Defendants, the Generic Manufacturer

    Defendants, and the Repackager Defendants. Id. They provide examples of how the MPIC does

    not explain how certain categories of MPIC Shotgun Defendants can be responsible for conduct

    that is attributed to every MPIC Shotgun Defendant. Id. at 11-14. Separately, the MPIC violates

    Rule 9(b) by lumping Shotgun/Standing Defendants together. The MPIC claims sounding in fraud

    are subject to Rule 9(b)’s heightened pleading standard, and the MPIC Plaintiffs fall short by




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    failing to describe specific misrepresentations or omissions by individual MPIC Shotgun

    Defendants. Id. at 15. Finally, the MPIC further constitutes shotgun pleading because it fails to

    differentiate between distinct corporate entities, and incorporates every count into every other

    count. Id. at 15-16. Given the foregoing deficiencies, the MPIC frustrates the purpose of an MDL,

    including by forcing the Court to sift out irrelevancies and impeding the MPIC Shotgun

    Defendants’ ability to mount certain defenses. Id. at 16-19.

           The MPIC Plaintiffs argue that the MPIC Shotgun Defendants’ requested relief is

    improper, for they should have instead moved for a more definite statement pursuant to Rule 12(e).

    DE 1974 at 8. Still, the MPIC is not a shotgun pleading, since it is apparent that the MPIC Shotgun

    Defendants have notice of the claims against them. The way in which the MPIC Shotgun

    Defendants are grouped does not violate Rule 8 given the complexity of the MDL, and because

    the MPIC specifies which groups of MPIC Shotgun Defendants each count applies to. Id. at 12.

    The examples provided by the MPIC Shotgun Defendants also misstate the law and/or the MPIC’s

    allegations. Id. at 14-17. Further, not all of the fraud-based claims are subject to heightened

    pleading standards of Rule 9, and even if they are, the MPIC contains detailed factual allegations

    that provide adequate notice of specific misrepresentations made by each MPIC Shotgun

    Defendant. Id. at 17-18. And despite the MPIC’s lumping of corporate entities, the MPIC Shotgun

    Defendants’ contentions are merely denials of the MPIC’s factual assertions; the MPIC Shotgun

    Defendants should thus answer the MPIC. Id. at 19. Finally, even if prior allegations are

    incorporated by reference into each MPIC count, the MPIC is clear as to which MPIC Shotgun

    Defendant each count applies. Id. at 20. The MPIC Plaintiffs acknowledged this final issue at the

    Hearing and took no issue with amending the MPIC. DE 2498 at 84:24-85:7 (“I do want to start

    by being honest with the Court, our complaint does have a paragraph at the beginning of each




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    count that incorporates the previous allegations into the first one. If the Court wants us to, we will

    be happy to amend our complaints . . . .”).

    B. Law on Shotgun Pleading

           Rule 8(a) requires that any claim for relief contain “a short and plain statement of the claim

    showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). A shotgun pleading fails “to

    one degree or another, and in one way or another, to give the defendants adequate notice of the

    claims against them and the grounds upon which each claims rests.” Weiland v. Palm Beach Cty.

    Sheriff’s Office, 792 F.3d 1313, 1323 (11th Cir. 2015). There are roughly four types of shotgun

    pleadings:

           The most common type—by a long shot—is a complaint containing multiple counts
           where each count adopts the allegations of all preceding counts, causing each
           successive count to carry all that came before and the last count to be a combination
           of the entire complaint. The next most common type . . . is a complaint that does
           not commit the mortal sin of re-alleging all preceding counts but is guilty of the
           venial sin of being replete with conclusory, vague, and immaterial facts not
           obviously connected to any particular cause of action. The third type of shotgun
           pleading is one that commits the sin of not separating into a different count each
           cause of action or claim for relief. Fourth, and finally, there is the relatively rare sin
           of asserting multiple claims against multiple defendants without specifying which
           of the defendants are responsible for which acts or omissions, or which of the
           defendants the claim is brought against.

    Id. at 1321-23 (footnotes omitted).

           Rule 9(b) states that “[i]n alleging fraud or mistake, a party must state with particularity

    the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). To satisfy Rule 9(b), a

    complaint must set forth:

           (1) precisely what statements were made in what documents or oral representations
           or what omissions were made, and (2) the time and place of each such statement
           and the person responsible for making (or, in the case of omissions, not making)
           same, and (3) the content of such statements and the manner in which they misled
           the plaintiff, and (4) what the defendants obtained as a consequence of the fraud.

    U.S. ex rel. Clausen v. Lab’y Corp. of Am., 290 F.3d 1301, 1310 (11th Cir. 2002).



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    C. Analysis and Conclusion

           The MPIC Shotgun Defendants’ failure to bring their motion as a motion for a more

    definite statement pursuant to Rule 12(e) is not fatal. Even if a defendant fails to move pursuant

    to Rule 12(e), a “district court ought to take the initiative to dismiss or strike a shotgun pleading

    and give the plaintiff an opportunity to replead.” Weiland, 792 F.3d at 1321 n.10; see Wagner v.

    First Horizon Pharm. Corp., 464 F.3d 1273, 1280 (11th Cir. 2006) (“Given the district court’s

    proper conclusions that the complaint was a shotgun pleading and that plaintiffs’ [sic] failed to

    connect their causes of action to the facts alleged, the proper remedy was to order repleading sua

    sponte.”).

           The Court concludes that the MPIC constitutes a shotgun pleading. As the MPIC Shotgun

    Defendants note, each of the MPIC’s 15 counts adopts by reference or incorporates by reference

    every prior allegation. In this way, the MPIC commits the most common type of shotgun pleading

    recognized in Weiland. Contrary to the MPIC Plaintiffs’ suggestion, the MPIC would not be saved

    merely by amending select paragraphs, such that each count incorporated only the first 452

    paragraphs, for doing so would still “lead[] to a situation where most of the counts . . . contain

    irrelevant factual allegations and legal conclusions.” Strategic Income Fund, L.L.C. v. Spear, Leeds

    & Kellogg Corp., 305 F.3d 1293, 1295 (11th Cir. 2002) (amended complaints deemed

    “quintessential” shotgun pleadings). Indeed, that version of the MPIC would still “leav[e] the

    reader to wonder which prior paragraphs support the elements of” each claim. Wagner, 464 F.3d

    at 1279; see Jackson v. Bank of Am., N.A., 898 F.3d 1348, 1356 (11th Cir. 2018) (amended

    complaint deemed “an incomprehensible shotgun pleading” where it “incorporate[d] by reference

    all of its factual allegations into each claim, making it nearly impossible for Defendants and the




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    Court to determine with any certainty which factual allegations give rise to which claims for

    relief”).

            The MPIC also lumps the MPIC Shotgun Defendants together in a manner that violates

    Rule 8. The MPIC Plaintiffs bring 11 of the 15 counts against every MPIC Shotgun Defendant;

    the other 4 are each brought against multiple categories of MPIC Shotgun Defendants. As this

    Court has noted, “lumping all the defendants together in each claim and provid[ing] no factual

    basis to distinguish their conduct” does not satisfy Rule 8. Lane v. Cap. Acquisitions & Mgmt. Co.,

    No. 04-60602, 2006 WL 4590705, at *5 (S.D. Fla. Apr. 14, 2006); see also Petrovic v. Princess

    Cruise Lines, Ltd., No. 12-21588-CIV, 2012 WL 3026368, at *3 (S.D. Fla. July 20, 2012) (same);

    Chiron Recovery Ctr., LLC v. United Healthcare Servs., Inc., No. 9:18-CV-81761, 2020 WL

    3547047, at *5 (S.D. Fla. June 30, 2020) (Rosenberg, J.) (“Shotgun pleading exists when multiple

    parties or multiple claims for relief are merged into a single count.”); Fox v. Loews Corp., 309 F.

    Supp. 3d 1241, 1249 (S.D. Fla. 2018) (“When a complaint indiscriminately lumps all defendants

    together, it fails to comply with Rule 8.”).

            The Court is particularly concerned by the way in which the MPIC lumps MPIC Shotgun

    Defendants across entire groups (e.g., Retailers grouped with Distributors, Brands grouped with

    Repackagers). The Court understands certain groups to conduct fundamentally different activities

    than others, such that grouping them together throughout the MPIC might create confusion.

    Indeed, this pleading strategy has led to allegations that the Court has had difficulty understanding

    with sufficient clarity, including some of the inconsistencies highlighted by the MPIC Shotgun

    Defendants. See DE 1588 at 11-14. Through the discovery and Registry process conducted since

    the MPIC was filed in June, the Court understands that the MPIC Plaintiffs know much more about

    individual MPIC Shotgun Defendants’ conduct than they did six months ago. This fact was




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    highlighted both at the Hearing and at the Case Management Conference conducted on December

    18, 2020. The Court expects that the newly acquired information will allow the MPIC Plaintiffs

    to more precisely tailor their allegations to the proper categories of MPIC Shotgun Defendants.

           The Court acknowledges the complexity of this MDL. 11 But “[e]xperience teaches that,

    unless cases are pled clearly and precisely, issues are not joined, discovery is not controlled, the

    trial court’s docket becomes unmanageable, the litigants suffer, and society loses confidence in the

    court’s ability to administer justice.” Kareem v. Ocwen Loan Servicing, LLC, No. 9:15-CV-80638,

    2015 WL 7272765, at *5 (S.D. Fla. Nov. 18, 2015) (Rosenberg, J.) (quoting Anderson v. Dist. Bd.

    of Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366-67 (11th Cir. 1996)). 12

           The MPIC Shotgun Motion is granted, and the MPIC Plaintiffs’ claims are dismissed

    without prejudice and with leave to amend the MPIC.

                                VIII. Analysis of Shotgun/Standing Motion

           The Court addresses the issue of shotgun pleading first, as it overlaps with the issues

    discussed above regarding the MPIC Shotgun Motion. The Court then turns to issues of Article

    III standing raised in the briefing, including whether to analyze standing at the pleading stage or

    after class certification; how to analyze standing at the pleading stage; the juridical link doctrine;

    and whether the Shotgun/Standing Plaintiffs may assert claims under the laws of states where no

    named Shotgun/Standing Plaintiffs reside, purchased, and/or reimbursed for ranitidine products.

    For each issue, the Court reviews the arguments of the parties, any relevant allegations in the Class




     11
        Because of this, the Court is less concerned by the way in which related corporate entities are consolidated.
     Moreover, requiring delineation on this level would likely induce a significantly longer version of the MPIC.
     12
        In concluding that lumping the MPIC Shotgun Defendants together violates Rule 8, the Court declines to decide
     whether doing so also violates Rule 9(b). Should the amended MPIC still contain the alleged Rule 9(b) infirmity,
     the MPIC Shotgun Defendants may re-raise the issue in the next round of Rule 12 motions.


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    Complaints, and any additional, issue-specific law before providing the Court’s analysis and

    conclusion on the issue.

    A. Shotgun Pleading

       1. Arguments and Allegations

           The Shotgun/Standing Defendants argue that the Class Complaints commit two of the four

    sins recognized by the Eleventh Circuit in Weiland. First, the Class Complaints assert multiple

    claims against multiple defendants without specifying which defendants are responsible for which

    acts and omissions. DE 1630 at 16. Second, the Class Complaints are “replete with conclusory,

    vague, and immaterial facts not obviously connected to any particular cause of action.” Id.

    (quotation marks omitted). The Shotgun/Standing Defendants provide several examples from the

    Class Complaints to illustrate how they “defy reason and reality.” Id. at 19-23.

           The Shotgun/Standing Plaintiffs respond by emphasizing that whether a complaint is a

    shotgun pleading depends principally on whether a defendant receives adequate notice. DE 1980

    at 29. They state that the Shotgun/Standing Defendants received adequate notice, and that the

    Class Complaints, “while not beyond all reproach, are not so ‘sinful’ as to constitute a shotgun

    pleading under Weiland.” Id. at 30. They refute certain of the Shotgun/Standing Defendants’

    examples by stating that adequate notice is provided, that many arguments raised in the

    Shotgun/Standing Motion improperly go to the merits, and that the proper solution to many of the

    Shotgun/Standing Defendants’ complaints is to simply deny various allegations when answering

    the Class Complaints. Id. at 9.

       2. Law on Shotgun Pleading

           The Court addressed the relevant law on shotgun pleading above. See discussion supra

    Section VII.B. That same discussion applies here.




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       3. Analysis and Conclusion

           The Class Complaints combine related and unrelated defendants together. In the CCCAC,

    the CCCAC Plaintiffs categorize 82 individual entities across five groups: Brand-Name

    Manufacturer Defendants, Generic Manufacturer Defendants, Distributor Defendants, Retailer

    Defendants, and Repackager Defendants. In the CTPPCC, 67 individual entities are categorized

    across two groups—Brand-Name Manufacturer Defendants and Generic Manufacturer

    Defendants. While the Court appreciates the Shotgun/Standing Plaintiffs’ attempt to efficiently

    navigate the pleading challenges posed by this MDL, the decision to lump Shotgun/Standing

    Defendants together has created some degree of confusion for the Shotgun/Standing Defendants

    and the Court. The Shotgun/Standing Defendants’ examples are illustrative. See DE 1630 at 19-

    23. These examples highlight that certain allegations are not consistent with geographic and

    temporal realities. The ways in which individual Shotgun/Standing Defendants are categorized

    and consolidated support the arguments that the Class Complaints fail to provide a factual basis to

    distinguish individual Shotgun/Standing Defendants’ conduct.

           Both Class Complaints also incorporate hundreds of allegations into every count. The

    CCCAC incorporates the first 748 paragraphs into each of the 314 counts, including more than

    300 paragraphs designated as “Factual Allegations,” while the CTPPCC incorporates 519

    paragraphs into all nine counts, including nearly 400 paragraphs under the “Factual Allegations”

    heading. In doing so, the Shotgun/Standing Plaintiffs “leav[e] the reader to wonder which prior

    paragraphs support the elements of” each claim. Wagner, 464 F.3d at 1279. They likewise force

    the Shotgun/Standing Defendants and the Court to sift out irrelevancies—an especially onerous

    task given the size and scope of the Class Complaints. The Eleventh Circuit has declared shorter

    complaints with fewer factual allegations and defendants to be shotgun pleadings. See Chudasama




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    v. Mazda Motor Corp., 123 F.3d 1353, 1359 n.9 (11th Cir. 1997) (complaint containing four counts

    and 43 numbered paragraphs deemed “an all-too-typical shotgun pleading,” where “[e]ach count

    has two numbered paragraphs, the first of which incorporates by reference all forty-three

    paragraphs of factual allegations,” despite “[m]any of the factual allegations appear[ing] to relate

    to only one or two counts, or to none of the counts at all.”); see also Wagner, 464 F.3d at 1279-80

    (shotgun pleading where “the factual particularity of the first 175 paragraphs [was] not connected

    to the otherwise generally pled claim in any meaningful way”); Magluta, 256 F.3d at 1284

    (“quintessential” shotgun pleading where complaint was 58 pages long, contained 146 paragraphs

    under a section titled “General Factual Allegations,” and was “replete with allegations that ‘the

    defendants’ engaged in certain conduct, making no distinction among the fourteen defendants

    charged”). Because hundreds of allegations are incorporated into every count, “it is virtually

    impossible to know which allegations of fact are intended to support which claim(s) for relief.”

    Anderson, 77 F.3d at 366. The Shotgun/Standing Defendants cannot be expected to frame

    responsive pleadings given the current Class Complaints.

           The Court recognizes that its decision may lead to longer Class Complaints. But it cannot

    permit pleadings that fail Rule 8, provide inadequate notice, and unduly burden parties to discern

    relevant and irrelevant parties and claims. Given the size of the Class Complaints and the number

    of parties, classes, and claims involved, it is especially critical that the Shotgun/Standing Plaintiffs

    plead with precision. With the benefit of discovery since filing the Class Complaints, coupled

    with the Court’s rulings, the Court is confident that the Shotgun/Standing Plaintiffs can do so.

    B. Article III Standing

           Because the Class Complaints are impermissible shotgun pleadings, the Court struggles to

    analyze certain issues of Article III standing raised in the Shotgun/Standing Motion. When faced




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    with a shotgun pleading, a court may reserve judgment on standing issues until receiving an

    amended pleading. See Drummond v. Zimmerman, 454 F. Supp. 3d 1210, 1222 (S.D. Fla. 2020)

    (“[B]ecause of the shotgun nature of the Complaint, the Court cannot readily decipher who is

    seeking what relief. Because Plaintiffs are given leave to amend certain claims, the Court will

    address any standing and statute of limitations arguments that Defendants may raise in response

    to an amended complaint.”). Here, the Court concludes that evaluating certain issues of Article III

    standing will be far more manageable and effective after the Shotgun/Standing Plaintiffs file

    amended Class Complaints. This is particularly true given the Court’s Orders on the other Rule

    12 motions, through which it has dismissed various claims.

           That decision notwithstanding, the Court reaches conclusions as to certain Article III

    standing issues. In the interest of narrowing the issues that might be argued in subsequent Rule

    12 motions, the Court addresses those issues below.

       1. Timing

           Before evaluating the issues in the Shotgun/Standing Motion concerning Article III

    standing, the Court must determine whether they should be decided before or after issues of class

    certification under Rule 23. The parties seem to agree that the Court should analyze issues of

    Article III standing now, rather than waiting until briefing on class certification. See DE 1630 at

    37 (“Eleventh Circuit precedents wholly reject Langan to the extent that case holds that (i) the

    court’s assessment of a named plaintiff’s standing to pursue a particular claim may be deferred

    until after the Rule 23 analysis . . . .”); DE 2498 at 49:4-6 (“I think that we agree with the general

    principle that standing of each Plaintiff against at least one Defendant must be determined at the

    Rule 12 stage.”).




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            Consistent with the parties’ positions, the caselaw appears clear that courts should evaluate

    Article III standing before those of class certification. See Lujan v. Defs. of Wildlife, 504 U.S. 555,

    561 (1992) (explaining that Article III standing elements “are not mere pleading requirements but

    rather an indispensable part of the plaintiff’s case”); see also Cordoba v. DIRECTV, LLC, 942 F.3d

    1259, 1273 (11th Cir. 2019) (“It is well-settled that prior to the certification of a class, and

    technically speaking before undertaking any formal typicality or commonality review, the district

    court must determine that at least one named class representative has Article III standing to raise

    each class subclaim.”) (quotation marks omitted).           And indeed, “[s]tanding represents a

    jurisdictional requirement which remains open to review at all stages of the litigation.” Nat’l Org.

    for Women, Inc. v. Scheidler, 510 U.S. 249, 255 (1994). The Court is thus satisfied that Article III

    standing can and should be evaluated at this stage of the litigation, and should not be deferred until

    the class certification stage.

        2. Article III Standing Analysis at the Pleading Stage

            a.      Arguments and Allegations

            Although the parties appear to agree on when to evaluate Article III standing, they disagree

    on what the appropriate Article III standing analysis looks like at this stage. Citing Prado-Steiman

    v. Bush, 221 F.3d 1266 (11th Cir. 2000), the Shotgun/Standing Defendants argue that “the named

    Plaintiffs must independently meet” the minimum requirements of Article III standing—injury in

    fact, traceability and redressability—“as to each claim asserted against each Defendant,” and that

    “it is not enough that a named plaintiff can establish a case or controversy between himself and

    the defendant by virtue of having standing as to one of many claims he wishes to assert.” DE 1630

    at 26 (quotation marks omitted). They further contend that “each claim must be analyzed

    separately, and a claim cannot be asserted on behalf of a class unless at least one named plaintiff




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    has suffered the injury that gives rise to that claim.” Id. (quotation marks omitted). With those

    principles in mind, they note that the CCCAC asserts claims on behalf of all named CCCAC

    Plaintiffs against all CCCAC Defendants, despite it making clear that not all 82 CCCAC

    Defendants could have possibly harmed any one of the named CCCAC Plaintiffs, let alone all of

    them. Id. They make a similar argument regarding the CTPPCC. See id. at 27 (noting that no

    named CTPPCC Plaintiff purchased or reimbursed for OTC products, and further, that “none of

    the named [CTPPCC] Plaintiffs alleges that it reimbursed products from—or had any relationship

    whatsoever with—certain Generic Manufacturer Defendants, including but not limited to Ajanta,

    Aurobindo, Geri-Care, Torrent and Zydus-Cadila”).

           The Shotgun/Standing Plaintiffs argue that they comfortably meet the Lujan elements,

    calling this a “classic ‘direct dollars-and-cents injury’ that is the hallmark of standing.” DE 1980

    at 18. At the pleading stage, they need not allege with certainty which defendant harmed them if

    “a reasonable investigation under the circumstances points to multiple possible tortfeasors.” Id. at

    19. Further, standing does not require class representative plaintiffs to suffer injuries that support

    unnamed class members’ claims. Id. at 21. Given the Eleventh Circuit’s decision in Fox v. Ritz-

    Carlton Hotel Company, L.L.C., 977 F.3d 1039 (11th Cir. 2020), a representative need only have

    the same interest and suffer the same injury as the class members to have class representative

    standing to bring his claims. Id. at 21-22. Further, the Shotgun/Standing Defendants’ reliance on

    Prado is misplaced given that case’s procedural posture (i.e., a Rule 23(f) interlocutory appeal)

    and its focus on “typicality” under Rule 23. Id. at 22. The Shotgun/Standing Defendants’

    complaints are thus matters of Rule 23 representative capacity rather than Article III standing.




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           b.      Law on Article III Standing at the Pleading Stage

           “Article III, § 2, of the Constitution extends the ‘judicial Power’ of the United States only

    to ‘Cases’ and ‘Controversies.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 102 (1998).

    That a case or controversy exists is a bedrock requirement, and courts cannot exercise judicial

    power without it. Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924 (11th Cir. 2020).

    “Standing, ripeness and mootness are three traditional doctrines governing whether a case or

    controversy exists.” Id. Standing—“perhaps the most important of the jurisdictional doctrines”—

    is the only one of these doctrines raised in the Shotgun/Standing Motion. Id. (quotation marks

    omitted). The “irreducible constitutional minimum of standing contains three elements”:

           First, the plaintiff must have suffered an injury in fact—an invasion of a legally
           protected interest which is (a) concrete and particularized; and (b) actual or
           imminent, not conjectural or hypothetical. Second, there must be a causal
           connection between the injury and the conduct complained of—the injury has to be
           fairly traceable to the challenged action of the defendant, and not the result of the
           independent action of some third party not before the court. Third, it must be likely,
           as opposed to merely speculative, that the injury will be redressed by a favorable
           decision.

    Lujan, 504 U.S. at 560-61 (quotation marks, footnotes and citations omitted). Stated more plainly,

    a plaintiff must show that the defendant(s) harmed her, and that a court decision can eliminate or

    compensate for it. Godiva, 979 F.3d at 924. That standard applies equally to class actions. Id.; see

    Cordoba, 942 F.3d at 1273 (“[T]hat a suit may be a class action adds nothing to the question of

    standing.”) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 n.6 (2016)). Further, “standing

    is not dismissed in gross.” Davis v. Fed. Election Comm’n, 554 U.S. 724, 733-34 (2008) (quoting

    Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996)). Rather, a plaintiff must demonstrate standing for

    each claim she pursues and each form of relief sought. Id.; Town of Chester, N.Y. v. Laroe Ests.,

    Inc., 137 S. Ct. 1645, 1650 (2017). The same is true in cases with multiple plaintiffs, and at least




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    one plaintiff must have standing to seek each form of relief sought. Town of Chester, 137 S. Ct. at

    1651.

            The party invoking federal jurisdiction bears the burden of establishing the elements of

    standing. Lujan, 504 U.S. at 561. The Lujan elements are “an indispensable part of the plaintiff’s

    case, [and] each element must be supported in the same way as any other matter on which the

    plaintiff bears the burden of proof, i.e., with the manner and degree of evidence required at the

    successive stages of the litigation.” Id. “At the pleading stage, general factual allegations of injury

    resulting from the defendant’s conduct may suffice, for on a motion to dismiss we presume that

    general allegations embrace those specific facts that are necessary to support the claim.” Id.

    (quotation marks omitted). That said, when “a case is at the pleading stage, the plaintiff must

    clearly allege facts demonstrating each [Lujan] element.” Spokeo, 136 S. Ct. at 1547 (internal

    quotation marks omitted). If a plaintiff fails to plead facts sufficient to show Article III standing,

    the Court “lacks the power to create jurisdiction by embellishing a deficient allegation of injury.”

    Bochese v. Town of Ponce Inlet, 405 F.3d 964, 976 (11th Cir. 2005); see also Godiva, 979 F.3d at

    925 (“We will not imagine or piece together an injury sufficient to give [a] plaintiff standing when

    it has demonstrated none.”) (quotation marks omitted).

            c.     Analysis and Conclusion

            The Court concludes that at the pleading stage, a proper standing analysis involves an

    evaluation on a claim-by-claim basis, consistent with the standard set forth in Prado. Prado states

    that as to standing, “[i]t is not enough that a named plaintiff can establish a case or controversy

    between himself and the defendant by virtue of having standing as to one of many claims he wishes

    to assert,” and further, “each claim must be analyzed separately, and a claim cannot be asserted on

    behalf of a class unless at least one named plaintiff has suffered the injury that gives rise to that




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    claim.” 221 F.3d at 1280; see also Griffin v. Dugger, 823 F.2d 1476, 1483 (11th Cir. 1987).

    Further, Prado and Griffin instruct the Court to determine the issues for which plaintiffs have

    standing before considering questions of representative capacity. Prado, 221 F.3d at 1280 (quoting

    Griffin, 823 F.2d at 1483). Despite the procedural difference between Prado and this litigation,

    courts in this District have acknowledged the principles in Prado when reviewing motions to

    dismiss. See, e.g., Sanchez-Knutson v. Ford Motor Co., No. 14-61344-CIV, 2015 WL 11197772

    (S.D. Fla. July 22, 2015); see also Holliday v. Albion Lab’ys, Inc., No. 9:14-cv-81294, 2015 WL

    10857479 (S.D. Fla. June 9, 2015); Barron v. Snyder’s-Lance, Inc., No. 13-62496-CIV, 2015 WL

    11182066 (S.D. Fla. Mar. 20, 2015). Although the Lujan elements are less demanding at the

    pleading stage than at later stages of litigation, a court must still evaluate standing on a claim-by-

    claim basis.

           Fox v. Ritz-Carlton is inapposite. In Fox, one restaurant customer filed a putative class

    action against Ritz-Carlton for charging an automatic gratuity in violation of Florida law. While

    that lone named plaintiff had dined at just three Ritz-Carlton restaurants, the Eleventh Circuit

    allowed him to assert claims on behalf of unnamed plaintiffs who dined at 46 other Ritz-Carlton

    restaurants, since the plaintiff had “the same interest and suffered the same injury as the class

    members.” 977 F.3d at 1047. Yet as the Shotgun/Standing Defendants note, Fox involved just one

    named plaintiff suing one defendant under one state’s law. That is markedly different than the

    Class Complaints: the CCCAC contains 183 named Plaintiffs, 314 counts, claims arising under

    the laws of all 50 states (and the District of Columbia and Puerto Rico), and 82 individual

    defendants. Although the CTPPCC contains three named Plaintiffs and nine counts, they allege

    claims arising under the laws of all 50 states (plus the District of Columbia and Puerto Rico) and

    against 67 individual defendants.




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          3. Juridical Link Doctrine

             a.     Arguments and Allegations

             The Shotgun/Standing Defendants assert that the Shotgun/Standing Plaintiffs cannot rely

    on the juridical link doctrine, which the Shotgun/Standing Plaintiffs claim allows them to sue every

    culpable defendant on behalf of others with the same injury. The doctrine cannot confer Article

    III standing and the Shotgun/Standing Plaintiffs’ position counters binding precedent that rejected

    the concept of class standing. DE 1630 at 28-29. The Shotgun/Standing Defendants distinguish

    three cases that apply and/or discuss the doctrine. See id. at 29-31 (distinguishing Payton v. Cnty.

    of Kane, 308 F.3d 673 (7th Cir. 2002), La Mar v. H & B Novelty & Loan Co., 489 F.2d 461 (9th

    Cir. 1973); and Moore v. Comfed Sav. Bank, 908 F.2d 834 (11th Cir. 1990)). Additionally, they

    cite several cases to support their view that the doctrine cannot confer standing. Id. at 31-34. Even

    if the doctrine could confer standing, it is still inapplicable to this case, since the Eleventh Circuit

    in Moore clarified that it only applies to cases where there is either a contractual obligation among

    all defendants or a state or local statute requiring common action. Id. at 34.

             The Shotgun/Standing Plaintiffs argue that the juridical link doctrine applies and rely

    principally on Payton and Moore. At the Hearing, counsel for the Shotgun/Standing Plaintiffs

    clarified that because every Shotgun/Standing Defendant participates in a scheme regulated by the

    FDA, they are juridically linked. See DE 2498 at 32:5-8 (“[N]one of these Plaintiffs could have

    ever purchased this defective drug but for the FDA’s authorization to these Defendants to

    manufacture, distribute, and sell it. That is a juridical link.”).13




     13
        During the Hearing, the Shotgun/Standing Plaintiffs admitted that they did not include this argument in their
     briefing. DE 2498 at 66:3-5.


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           b.      Law on Juridical Link Doctrine

           The juridical link doctrine is an exception to the general rule that a plaintiff cannot bring a

    class action against parties that did not injure her. The juridical link doctrine was first announced

    in La Mar. In La Mar, the Ninth Circuit reviewed two class actions: one action by a single named

    plaintiff against all Oregon-licensed pawnbrokers for violations of the Truth-in-Lending Act, and

    one by a named plaintiff against eight named aviation companies for violations of the Federal

    Aviation Act. On appeal in the pawnbroker case was the district court’s determination that the

    lawsuit was a proper class action. On appeal in the airline case was the district court’s dismissal

    of six appellee-aviation companies that argued that they neither dealt with nor caused injury to the

    named plaintiff.

           The Ninth Circuit declined to decide issues of standing, as it found that under Rule 23, the

    named plaintiffs were “not entitled to bring a class action against defendants with whom they had

    no dealing.” La Mar, 489 F.2d at 464. The court stated further:

           [W]e assert that a plaintiff who has no cause of action against the defendant can not
           ‘fairly and adequately protect the interests’ of those who do have such causes of
           action. This is true even though the plaintiff may have suffered an identical injury
           at the hands of a party other than the defendant and even though his attorney is
           excellent in every material respect. Obviously this position does not embrace
           situations in which all injuries are the result of a conspiracy or concerted schemes
           between the defendants at whose hands the class suffered injury. Nor is it intended
           to apply to instances in which all defendants are juridically related in a manner
           that suggests a single resolution of the dispute would be expeditious.

    Id. at 466 (emphasis added) (footnotes omitted).

           The Seventh Circuit recognized the juridical link doctrine in Payton, where former

    arrestees who were released on bail from Illinois county jails filed a putative class action

    challenging several counties’ practice of charging bail fees as conditions for release. The named

    plaintiffs were confined to jails in just 2 Illinois counties, yet moved to certify a class consisting




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    of persons affected by the bail practice in 19 Illinois counties. All 19 counties followed the same

    Illinois bail statute. The defendants moved to dismiss the case, and the district court granted the

    motion based on its conclusion that the named plaintiffs lacked standing to pursue the entire

    lawsuit. The district court also denied the plaintiffs’ motion for class certification as moot. On

    appeal, however, the Seventh Circuit reversed the district court, found the juridical link doctrine

    applicable, and concluded that because all 19 counties imposed bond fees pursuant to the same

    Illinois statute, it was reasonable for the class to try to hold every county accountable in one suit.

    Payton, 308 F.3d at 677-82.

           The Eleventh Circuit has discussed the juridical link doctrine in only one case. In Moore,

    individuals borrowed money from Land Bank Equity Corporation, which provided mortgages on

    Georgia real estate. Land Bank sold those mortgages on the secondary market to various financial

    institutions. The borrowers subsequently brought a class action against the institutions that

    purchased Land Bank’s loan paper, alleging usury. In response to a motion by the borrowers

    seeking to certify a class of defendant-institutions, the district court entered an order sua sponte

    joining, as named defendants, all other institutions that held Land Bank loans secured by real

    property in Georgia. The district court joined seven institutions that argued that doing so was

    improper, since they did not hold paper signed by any named plaintiff-borrower. Those institutions

    appealed the district court’s decision.

           On appeal, the borrowers argued that the juridical link doctrine allowed the court to join

    the seven institutions. The Eleventh Circuit acknowledged La Mar and several district court cases

    recognizing the doctrine. Yet it ultimately found the doctrine inapplicable, stating that each case

    cited by the borrowers “presents a situation in which there was either a contractual obligation

    among all defendant or a state or local statute requiring common action by the defendants.” Moore,




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    908 F.2d at 838. It instead found that under Rule 20, which concerns permissive joinder, the trial

    court correctly concluded that certain institutions were properly joined as defendants. Id. at 839.

    That was so because every transaction at issue arose out of transactions or occurrences initiated by

    Land Bank, and every claim involved the same question of law and fact. Id.

            c.      Analysis and Conclusion

            The Court concludes that the juridical link doctrine does not apply to this litigation, insofar

    as the Shotgun/Standing Plaintiffs cannot rely on the doctrine to sue on behalf of others with the

    same injury against every culpable defendant. Nor does the doctrine confer Article III standing.

    Payton is not binding on the Court and is factually distinct from this case, since there, the 19

    Illinois counties all imposed bail bond fees pursuant to the same Illinois statute. Every county thus

    “took part in a similar scheme that was . . . mandated by a uniform state rule.” Payton, 308 F.3d at

    679. That is not true here.

            Moore is also inapplicable. First, the Eleventh Circuit did not discuss Article III standing

    anywhere in its opinion. Second, every loan transaction at issue in Moore arose out of a series of

    transactions initiated by a single bank, and every claim involved the same question of law in fact.

    On that basis, the court concluded that permissive joinder under Rule 20 was proper. Third, the

    court in Moore noted that the cases cited by the plaintiffs supporting the juridical link doctrine

    presented situations “in which there was either a contractual obligation among all defendants or a

    state or local statute requiring common action by the defendants.” 908 F.2d at 838. Neither

    condition is present in this litigation.

            The Shotgun/Standing Plaintiffs ask this Court to find the doctrine applicable because the

    FDA’s regulatory framework ties every Shotgun/Standing Defendant together. DE 2498 at 31:23-

    32:8. By that logic, countless entities subject to the FDA’s regulatory framework would also be




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    juridically linked here. The Court declines to apply the doctrine so broadly. Moreover, even if

    the doctrine applied, the Eleventh Circuit has never held that it can serve to confer or substitute for

    Article III standing.

       4. States Without Named Plaintiffs

           a.      Arguments and Allegations

           The Shotgun/Standing Defendants argue that the Shotgun/Standing Plaintiffs lack standing

    to assert claims on behalf of class members whose claims arise under the laws of the states in

    which no named Shotgun/Standing Plaintiffs reside or purchased ranitidine products. DE 1630 at

    34-38. Regarding the CCCAC, the parties disagree on whether the named CCCAC Plaintiffs have

    standing to assert claims on behalf of putative class members whose claims arise under other states’

    laws. The Shotgun/Standing Defendants note that no named CCCAC Plaintiff alleges that he or

    she resides or purchased ranitidine in Hawaii, Kansas, North Dakota, Rhode Island, or South

    Dakota. Id. at 35. As to the CTPPCC, they note that no CTPPCC Plaintiff reimbursed purchases

    for ranitidine products in Alaska, Arkansas, California, Connecticut, Delaware, the District of

    Columbia, Hawaii, Idaho, Kansas, Massachusetts, New Hampshire, New York, North Dakota,

    Oklahoma, Rhode Island, South Dakota, Vermont, Virginia, Washington, West Virginia, or any

    U.S. territory. Id. at 23. They cite several cases from the Eleventh Circuit and this District to argue

    that named Plaintiffs’ standing to pursue claims under the laws of their home states does not in

    turn allow them to pursue claims under other jurisdictions for putative class members. See id. at

    35-37. They also attack Plaintiffs’ reliance on Langan v. Johnson & Johnson Consumer Cos., 897

    F.3d 88 (2d Cir. 2018) and Morrison v. YTB Int’l, Inc., 649 F.3d 533 (7th Cir. 2011). Id. at 35-36;

    DE 2129 at 11-12.




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             The Shotgun/Standing Plaintiffs argue that they do not lose Article III standing by alleging

    claims for putative class members residing in other states. DE 1980 at 24. They characterize this

    issue as one of representative capacity under Rule 23, rather than Article III standing, and argue

    that standing does not turn on substantive law. Id. at 25. They discuss Langan and Morrison in

    detail to illustrate the distinctions between standing, Rule 23, and merits issues, and further, the

    errors in Shotgun/Standing Defendants’ reasoning. Id. at 25-27. The Shotgun/Standing Plaintiffs

    suggest that this issue is better reviewed at the class certification stage than at the motion to dismiss

    stage.

             b.      Law on States Without Named Plaintiffs

             As noted above:

             It is not enough that a named plaintiff can establish a case or controversy between
             himself and the defendant by virtue of having standing as to one of many claims he
             wishes to assert. Rather, each claim must be analyzed separately, and a claim
             cannot be asserted on behalf of a class unless at least one named plaintiff has
             suffered the injury that gives rise to that claim.

    Feldman v. BRP US, Inc., No. 17-CIV-61150, 2018 WL 8300534, at *6 (S.D. Fla. Mar. 28, 2018)

    (quoting Prado, 221 F.3d at 1280). “In accordance with this principle, named plaintiffs in class

    actions have, time and again, been prohibited from asserting claims under a state law other than

    that which the plaintiff's own claim arises.” Id. (collecting cases); see Barron, 2015 WL 11182066

    (S.D. Fla. Mar. 20, 2015).14




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       In Barron, purchasers of food products marketed by the defendant alleged that the defendant deceptively and
     misleadingly marketed certain products as “All Natural.” 2015 WL 11182066, at *1. The plaintiffs filed a 30-count
     complaint under the laws of 10 states, in 9 of which the named plaintiffs had purchased the defendant’s products.
     Yet after some of the named plaintiffs were voluntarily dismissed, those remaining had not purchased the defendant’s
     products in six of the nine states. The Court dismissed the plaintiff’s claims for those six jurisdictions. Id. at *2.


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           c.      Analysis and Conclusion

           The Shotgun/Standing Plaintiffs do not refute that no named CCCAC Plaintiff resides or

    purchased ranitidine in Hawaii, Kansas, North Dakota, Rhode Island or South Dakota. The Court

    notes that following the dismissal of 55 named CCCAC Plaintiffs [DE 2241], the same is true of

    Delaware and Maine. Nor do the Shotgun/Standing Plaintiffs refute that no named CTPPCC

    Plaintiff reimbursed for ranitidine products in Alaska, Arkansas, California, Connecticut,

    Delaware, the District of Columbia, Hawaii, Idaho, Kansas, Massachusetts, New Hampshire, New

    York, North Dakota, Oklahoma, Puerto Rico, Rhode Island, South Dakota, Vermont, Virginia,

    Washington, or West Virginia.

           The Court concludes that a named plaintiff lacks standing to assert claims on behalf of

    putative class members whose claims arise under other states’ laws. Cases within this District are

    clear on this point. See Feldman, 2018 WL 8300534, at *6 (“[N]amed plaintiffs in class actions

    have, time and again, been prohibited from asserting claims under a state law other than that which

    the plaintiff’s own claim arises.”); see also In re Takata Airbag Prods. Liab. Litig., MDL No.

    2599, 2016 WL 1266609, at *4 (S.D. Fla. Mar. 11, 2016) (“A named plaintiff lacks standing to

    assert legal claims on behalf of a putative class pursuant to state law under which the named

    plaintiff’s own claims do not arise.”); In re Terazosin Hydrochloride Antitrust Litig., 160 F. Supp.

    2d 1365, 1371 (S.D. Fla. 2001) (“[T]he named plaintiffs cannot rely on unidentified persons within

    those states to state a claim for relief. Class allegations that others suffered injuries giving rise to

    claims add nothing to the question of standing.”) (quotation marks omitted).

           The Shotgun/Standing Plaintiffs’ reliance on Langan is unpersuasive. Langan is not

    binding on the Court and involved just one named plaintiff and one defendant and the parties

    agreed that the plaintiff had standing to sue under Connecticut’s consumer protection statute. The




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    Shotgun/Standing Plaintiffs’ reliance on Morrison is similarly unconvincing given it, too, is not

    binding on the Court and concerned whether plaintiffs residing in Illinois could sue for violations

    of Illinois law on behalf of non-Illinois putative class members. That is different than this case,

    where the Shotgun/Standing Plaintiffs bring claims under the laws of several states in which they

    neither reside, purchased, nor reimbursed for ranitidine.

           Nor is the Shotgun/Standing Plaintiffs’ reliance on Klay v. Humana, Inc., 382 F.3d 1241

    (11th Cir. 2004), Wilson v. EverBank, N.A., 77 F. Supp. 3d 1202 (S.D. Fla 2015), and In re

    Checking Acct. Overdraft Litig., MDL No. 2036, 2016 WL 5848730 (S.D. Fla. July 5, 2016)

    dispositive. While evaluating a nearly identical question in Takata Airbag, the Court distinguished

    those cases:

           In Wilson, the court departed from this District’s precedent and held that the named
           plaintiffs had standing to assert state law claims for unjust enrichment and tortious
           interference under the laws of states where they did not reside and where they did
           not claim to have been injured. The court in Wilson relied on three cases binding
           on the Court, along with out of Circuit cases. The court in Wilson first cited to Klay,
           in which the Eleventh Circuit stated class certification in multi-state class actions
           is “a realistic possibility.” However, the Eleventh Circuit made that statement
           responding to arguments related to Rule 23(b)(3)’s predominance requirement, not
           to standing arguments. Moreover, the Eleventh Circuit expressly stated that, on
           appeal “the defendants do not challenge the standing of the named plaintiffs.” The
           court in Wilson also relied on In re Checking Account because that court certified a
           nationwide class with common law claims represented by Plaintiffs from New
           York, California, and Washington. However, the court in In re Checking Account .
           . . certified the class only after it had dismissed various state law claims because
           the named plaintiffs lacked standing.

    2016 WL 1266609, at *5 (quotation marks and citations omitted). The Court follows this District’s

    precedent.

           In the CCCAC, Counts 52-60, 75-80, 106-11, 124-29, 209-14, 244-48, and 255-60 are

    dismissed without prejudice. CCCAC Counts 2, 4, 5, and 6 are also dismissed without prejudice,

    to the extent they are brought under the laws of Delaware, Hawaii, Kansas, Maine, North Dakota,




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    Rhode Island and South Dakota. In the CTPPCC, Counts 2, 3, and 5-9 are dismissed without

    prejudice, to the extent that they are brought under the laws of Alaska, Arkansas, California,

    Connecticut, Delaware, the District of Columbia, Hawaii, Idaho, Kansas, Massachusetts, New

    Hampshire, New York, North Dakota, Oklahoma, Puerto Rico, Rhode Island, South Dakota,

    Vermont, Virginia, Washington, or West Virginia.

                                     IX. Analysis of Injury Motion

           The Court’s inability to properly analyze Article III standing issues because the Class

    Complaints are impermissible shotgun pleadings, see discussion supra Section VIII.A.3, applies

    equally to the Injury Motion. The Court nonetheless reaches conclusions as to some issues, and

    does so below in the interest of narrowing the issues that might be argued in subsequent Rule 12

    motions.

           The Court first discusses whether to analyze the Injury Motion under Rule 12(b)(1), Rule

    12(b)(6), or both. It then addresses each of the Injury Plaintiffs’ theories for injury in fact,

    including pocketbook injury, economic loss due to medical monitoring, and physical injury. The

    Court ends by discussing the economic loss doctrine, as well as the Injury Plaintiffs’ requests for

    injunctive relief. For each issue, the Court reviews the arguments of the parties, any relevant

    allegations in the Class Complaints, and any additional, issue-specific law before providing the

    Court’s analysis and conclusion on the issue.

    A. Rule 12(b)(1) and Rule 12(b)(6)

           The Injury Defendants argue that courts frequently dismiss no-injury cases like the Injury

    Plaintiffs’ for lack of Article III standing under Rule 12(b)(1) and failure to state a claim under

    Rule 12(b)(6). DE 2037 at 9. They state that they are able to bring the Injury Motion under both




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    rules. DE 2321 at 5 n.1. The parties disagree, however, on whether a Rule 12(b)(6) motion requires

    any state-specific analysis. Plaintiffs argue:

           For a Rule 12 motion to succeed on a particular state law claim under Iqbal, it
           would be ‘necessary first to discuss the [substantive legal] principles implicated’ to
           identify the claim’s elements—which would require an Erie prediction—and next
           to identify an essential element of the claim that was not pleaded in the complaint.

    DE 2242 at 11 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)). Conversely, neither the

    Injury Motion nor the reply in support of the Injury Motion contain any such discussion.

           The Injury Plaintiffs state that “[i]n the absence of any particular 12(b)(6) argument to

    refute, Plaintiffs will focus on standing.” DE 2242 at 13. Because the Injury Plaintiffs have not

    responded to the Injury Motion on Rule 12(b)(6) grounds, and because the Injury Defendants have

    not undertaken the state-specific analysis that the Injury Plaintiffs believe is warranted, the Court

    will evaluate the Injury Motion solely on Rule 12(b)(1) grounds.

    B. Injury in Fact

       1. Economic (“Pocketbook”) Injury

           a.      Arguments and Allegations

           The Injury Defendants argue that the Class Complaints constitute “no-injury” class actions,

    in part because the Injury Plaintiffs received exactly what they paid for—a heartburn medication—

    and did not experience any demonstrable physical injury or argue that the medication was

    ineffective. They note that courts routinely reject class actions based on theories of economic loss

    where a drug at issue was effective for its approved indication and benefitted class members. DE

    2037 at 12.

           The Injury Plaintiffs respond that they plausibly allege an economic (i.e., pocketbook)

    injury through purchasing and reimbursing for a drug that has long been misbranded and/or

    adulterated, and thus illegal to sell and economically worthless. DE 2242 at 16. The Class



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    Complaints, they claim, contain detailed and plausible allegations that ranitidine is, and has been,

    misbranded and adulterated. Id. (citing, as examples, CTPPCC ¶¶ 335-41 and CCCAC ¶¶ 595-

    604). 15 They state that ranitidine was unlawfully sold “at least as soon as Defendants knew or

    should have known that the molecule breaks down into NDMA.” Id. at 19. To establish economic

    injury, the Injury Plaintiffs rely upon the intersection of the foregoing allegations and the case of

    Debernardis v. IQ Formulations, LLC, 942 F.3d 1076 (11th Cir. 2019). Debernardis is therefore

    the focus of the parties’ arguments, with the Injury Plaintiffs arguing the case is highly instructive

    and analogous to the instant case, and the Injury Defendants arguing that Debernardis is a

    distinguishable case involving a statutory framework with no application to the Class Complaints.

            b.       Law on Economic (“Pocketbook”) Injury

            To establish an injury in fact for Article III standing, a plaintiff must allege that she suffered

    “an invasion of a legally protected interest that is concrete and particularized and actual or

    imminent, not conjectural or hypothetical.” Spokeo, 136 S. Ct. at 1548 (quotation marks omitted).

    For an injury to be particularized, it must affect the plaintiff in a personal and individual way. Id.

    “A concrete injury must be de facto; that is, it must actually exist” and be real, rather than abstract.

    Id. (quotation marks omitted). “[S]tatutory violations do not—cannot—give [courts] permission

    to offer plaintiffs a wink and a nod on concreteness. Plaintiffs must show, and the courts must

    ensure, that an alleged injury is concrete.” Godiva, 979 F.3d at 925.

            In Godiva, the Eleventh Circuit stated: “[A] direct harm is the most straightforward way to

    show a concrete injury—in fact, it’s probably what most people think of naturally. . . . Tangible

    harms are the most obvious and easiest to understand; physical injury or financial loss come to


     15
        In these paragraphs, the Injury Plaintiffs allege that ranitidine products were misbranded because the Injury
     Defendants “did not disclose NDMA as an ingredient” in the products, “did not disclose the proper directions for
     storage” of the products, and “did not disclose the proper directions for expiration” of the products. CTPPCC ¶¶ 338-
     40; CCCAC ¶¶ 601-03.


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    mind as examples.” Id. at 926 (emphasis added). To establish financial loss, the Injury Plaintiffs

    rely significantly on Debernardis.

           In Debernardis, purchasers of dietary supplements sued the product’s manufacturer and its

    exclusive distributor pursuant to Illinois, Florida, and New York law, and also alleged claims for

    common law fraud and unjust enrichment. According to the plaintiffs’ complaint, the Federal

    Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”), prohibited selling the

    supplements because they were presumptively “adulterated” under the FDCA. Specifically, one

    ingredient in the supplements qualified as a “new dietary ingredient,” in turn creating the

    presumption under the FDCA that the supplements were adulterated. Additionally, the plaintiffs

    alleged facts indicating that, before they purchased the supplements, the FDA sent letters to 14

    companies that sold supplements containing the “new dietary ingredient,” and warned each that

    the supplements were adulterated.

           On appeal, the Eleventh Circuit concluded that the plaintiffs plausibly alleged that the

    supplements they purchased were adulterated. The court found that the complaint plausibly

    alleged that the supplements contained a “new dietary ingredient,” in part because of the FDA’s

    warning letters stating that the supplements were adulterated, which were sent before the plaintiffs

    purchased the supplements. Debernardis, 942 F.3d at 1085 n.6. While the plaintiffs did not allege

    that the supplements failed to perform as advertised, the court stated that such allegations were

    sufficient but not necessary to establish standing. Id. at 1086.

           The Eleventh Circuit concluded that “[b]ecause the plaintiffs were deprived of the entire

    benefit of their bargain . . . they adequately alleged that they experienced economic loss.” Id. at

    1088. Yet it also stated:

           [W]e are not deciding today whether a consumer who alleges he purchased a
           product that could not legally be sold under a different statutory scheme acquired a



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           worthless product. We caution that our decision is limited to the specific facts
           alleged in this case—that the plaintiffs purchased dietary supplements that
           Congress, through the FDCA and the DSHEA [Dietary Supplement Health and
           Education Act], had banned from sale with the purpose of preventing consumers
           from ingesting an unsafe product.

    Id. (emphasis added). The court further cautioned that it was not “addressing whether a plaintiff

    would have standing if she allegedly purchased a product that lawfully could be sold but came

    with inadequate warnings . . . or a product that was lawfully sold at the time of purchase but whose

    sale later was prohibited.” Id. at 1088 n.8

           c.      Analysis and Conclusion

           There are differences between Debernardis and this case.               Debernardis involved

    supplements regulated in part by DSHEA, unlike ranitidine, and which were presumptively

    adulterated pursuant to the FDCA. The FDA’s warning letters expressly acknowledged this

    presumption that the products were adulterated. Those warning letters were delivered before the

    plaintiffs in the case purchased the supplements. The plaintiffs’ complaint contained each of these

    allegations.

           Debernardis “accept[ed], at least at the motion to dismiss stage, that a dietary supplement

    that is deemed adulterated and cannot lawfully be sold has no value.” Id. at 1085 (emphasis added).

    In Debernardis, the FDA expressly deemed the supplements adulterated. Although Debernardis

    does not say who must deem a product adulterated before a court accepts such allegations as true,

    the Court believes that the FDA’s express declaration is significant, particularly when a plaintiff

    does not have a private cause of action to enforce the adulteration and misbranding statute. See 21

    U.S.C. § 337(a) (providing that “all such proceedings for the enforcement, or to restrain violations,

    of this chapter shall be by and in the name of the United States”); Ellis v. C.R. Bard, Inc., 311 F.3d




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    1272, 1284 n.10 (11th Cir. 2002) (explaining that “no private right of action exists for a violation

    of the FDCA”).

            The Court views Debernardis narrowly because the text of Debernardis compels the Court

    to do so. 942 F.3d at 1088 (“We caution that our decision is limited to the specific facts alleged in

    this case.”). The specific facts alleged in Debernardis are not the specific facts alleged in the

    instant case. Thus, the Injury Plaintiffs cannot rely on Debernardis to establish financial loss—to

    establish an economic injury.

            The Court will not determine, at this juncture, whether the Injury Plaintiffs have plausibly

    alleged a financial loss outside of Debernardis. That matter is better reserved for when the Injury

    Plaintiffs file amended Class Complaints and correct the shotgun pleading issues addressed in this

    Order. The Court’s decision to reserve is reinforced by its decisions in other Orders pertaining to

    related motions to dismiss. If, on amendment, it is still the Injury Plaintiffs’ theory that ranitidine

    was adulterated or misbranded and, as a result, illegal to sell, the Injury Plaintiffs must explain

    how that is so and plausibly allege facts in support of the same (in light of the Court’s other

    rulings). Relatedly, if it is the Injury Plaintiffs’ theory that a drug may be misbranded if it is created

    exactly in the manner in which the FDA approved it, this is a theory that must be clearly pled and

    adequately briefed for the Court’s consideration.

        2. Medical Monitoring; Physical Injury

            a.      Arguments and Allegations

            The Injury Defendants assert that the Injury Plaintiffs fail to allege actual physical or

    emotional injury due to ingesting ranitidine. DE 2037 at 16. No Injury Plaintiff alleges being

    diagnosed with cancer or any other disease in connection with purchasing ranitidine, and further,

    speculative physical injuries like cellular and subcellular damage are not legally cognizable




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    injuries. Id. at 16-17. Even if the Injury Plaintiffs could allege such injuries, they must all be

    alleged in the MPIC. Id. at 18.

           The Injury Plaintiffs argue that they plausibly allege an injury in fact by stating that they

    have suffered and will suffer economic losses and expenses due to the need for ongoing medical

    monitoring. DE 2242 at 22. Bouldry v. C.R. Bard, Inc., 909 F. Supp. 2d 1371 (S.D. Fla. 2012),

    supports the notion that an alleged increased risk of future harm satisfies the injury in fact

    requirement for Article III standing. Id. At the Hearing, counsel for the Injury Plaintiffs argued

    that this theory of injury in fact pertains to those State Class-specific claims in the CCCAC titled

    “Medical Monitoring,” namely Counts 45, 67, 139, 167, 238, 280 and 302. DE 2498 at 142:14-22.

    The Injury Plaintiffs also state that they plausibly alleged an injury in fact by alleging accumulation

    of NDMA in their bodies, cellular damage, subcellular damage and related symptoms, and a

    significantly increased risk of developing various types of cancers. Id. at 23. They argue that the

    Court’s Pretrial Orders do not require them to replead those allegations in the MPIC.

           b.      Law on Medical Monitoring

           Parties pursuing medical monitoring claims seek to recover “the anticipated costs of long-

    term diagnostic testing necessary to detect latent diseases that may develop as a result of tortious

    exposure.” In re Nat’l Hockey League Players’ Concussion Inj. Litig., 327 F.R.D. 245, 259-60 (D.

    Minn. 2018) (quotation marks omitted). Medical monitoring claims evolved from “the realization

    that widely recognized tort law concepts premised upon a present physical injury are ill-equipped

    to deal with cases involving latent injury.” Id. at 260 (quotation marks omitted). Medical

    monitoring claims are considered non-traditional tort claims. Id.          To prevail on a medical

    monitoring claim, some states require manifest, cellular, or subcellular harm. See Donovan v.

    Philip Morris USA, Inc., 914 N.E.2d 891, 901-02 (Mass. 2009) (requiring at least “subcellular




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    changes that substantially increased the risk of serious disease, illness or injury” to recover costs

    of medical monitoring in Massachusetts). Other states do not impose that requirement. See In re

    Nat’l Hockey League, 327 F.R.D. at 261-62 (noting that Florida recognizes medical monitoring

    “as an independent cause of action that does not require proof of present injury or cellular or

    subcellular harm”). This Court and others have held that in the context of medical monitoring, an

    alleged increased risk of future harm constitutes an injury in fact. Bouldry, 909 F. Supp. 2d at

    1375; see also In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 861 (3d Cir.1990) (holding that

    persons exposed to poly-chlorinated biphenyls, a toxic substance, could sue for medical

    monitoring expenses because “regardless of whether all plaintiffs alleged demonstrable physical

    injury, they all clearly alleged monetary injury”), cert. denied, 499 U.S. 961 (1991); Sutton v. St.

    Jude Med. S.C., Inc., 419 F.3d 568, 574-75 (6th Cir. 2005) (concluding that standing was present

    where a defective medical implement presented an increased risk of future health problems).

           c.      Analysis and Conclusion

           The Court finds the Injury Plaintiffs’ reliance on Bouldry persuasive and concludes that as

    to CCAC Counts 45, 67, 139, 167, 238, 280 and 302, the Injury Plaintiffs have plausibly alleged

    injury in fact by alleging economic losses and expenses due to medical monitoring. The Court

    declines to conclude whether the Injury Plaintiffs have plausibly alleged injury in fact for any other

    CCCAC counts; this is because the Court cannot discern whether the Injury Plaintiffs argue that

    their alleged physical injuries constitute injury in fact for any other counts other than the medical

    monitoring counts.




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                During the Hearing, counsel for the Injury Plaintiffs indicated that their alleged physical

    injuries 16 constitute injury in fact for every CCCAC claim for those individuals who actually

    ingested ranitidine:

                THE COURT: Regarding Plaintiffs’ NDMA accumulation, cellular damage,
                subcellular damage, and increased risk of cancers, are Plaintiffs alleging that these
                injuries constitute injury in fact for every claim in the consumer complaint?

                MR. HEINZ: It would probably as to the people that ingested Ranitidine. For the
                class of people that would include people who purchased it, but didn’t ingest it,
                then it likely would not.

    DE 2498 at 142:23-143:5. Yet at another point, counsel suggested that the Injury Plaintiffs’

    physical injuries were relevant only to their claims for medical monitoring:

                THE COURT: What would be the impact if the Court ordered that all of the
                personal injury claims are to be asserted in the MPIC? Question for the Plaintiffs.
                ...

                MR. KELLER: The medical monitoring claimants are proceeding in a putative
                class action, so obviously they have their own personal injuries, but they are
                proceeding in a representative capacity on behalf of others.
                        So, our understanding of the order was that you didn’t mean for the master
                personal injury complaint to include class allegations, but obviously it would be a
                housekeeping matter, and if you prefer us to move medical monitoring claims over
                to the [MPIC], we could amend and do that and accommodate whatever your Honor
                thinks is the most efficient way to proceed.

    Id. at 161:4-162:12 (emphasis added). But in the CCCAC, physical injuries are alleged in more

    than just those counts titled “Medical Monitoring.” See, e.g., CCCAC ¶ 834 (physical injury

    alleged as part of Count 4 (Common Law Fraud)) (“Defendants’ fraudulent conduct directly and

    proximately caused Plaintiffs and the Class to: (a) be subjected to the accumulation of NDMA in

    their bodies, including the resulting cellular damage, subcellular damage, and related symptoms;

    and (b) sustain a significantly increased risk of developing various types of serious and potentially


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          The Court interprets any mention of physical injury in the CCCAC to mean cellular, sub-cellular, and/or genetic
         injuries that significantly increased the Injury Plaintiffs’ risk of developing various types of serious and potentially
         deadly cancers. E.g., CCCAC ¶ 723. Indeed, those are the only physical injuries alleged in the CCCAC.


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    deadly cancers.”); see also CCCAC ¶ 1081 (physical injury alleged as part of Count 17 (Strict

    Product Liability/Manufacturing Defect)) (“Plaintiffs and members of the Class would not have:

    (a) been subjected to the accumulation of NDMA in their bodies, including the resulting cellular

    damage, subcellular damage, and related symptoms; and (b) sustained a significantly increased

    risk of developing various types of serious and potentially deadly cancers.”). Creating even further

    uncertainty, each of the CCCAC’s 314 counts incorporates every factual allegation, including

    paragraph 722, which alleges that the Injury Plaintiffs sustained out-of-pocket losses and did not

    receive the benefit of their bargain, and paragraph 723, which alleges that due to the Injury

    Defendants’ conduct, the Injury Plaintiffs allegedly suffered physical damages including cellular,

    sub-cellular, and/or genetic injuries leading to a significantly increased risk of developing certain

    cancers.

           Thus, the Court is unclear as to the Injury Plaintiffs’ position, namely whether their alleged

    physical injuries constitute injury in fact only for those counts titled “Medical Monitoring,” or for

    other counts in the CCCAC as well. Regardless, the Court concludes that any and all allegations

    of physical and/or personal injury do not belong in the CCCAC and, as such, are stricken from the

    CCCAC. This includes, but is not limited to, those allegations of physical injury in the medical

    monitoring counts and strict liability counts. Amended Pretrial Order # 31 sets forth a clear

    procedure for parties asserting personal injury claims in this MDL. The Order specifically explains

    that “Plaintiffs shall file a Master Personal Injury Complaint on behalf of all Plaintiffs asserting

    personal injury claims in MDL No. 2924.” DE 1496 at 2. At the Hearing, counsel for the Injury

    Plaintiffs confirmed that the Injury Plaintiffs have personal injuries. DE 2498 at 162:4-5.

           This Court acknowledges that other courts, including those managing large MDLs, have

    addressed the procedural mechanism for filing personal injury and medical monitoring class




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    allegations differently. For example, the plaintiffs in In re National Hockey League did not file

    their personal injury and medical monitoring class claims in separate complaints, even though the

    plaintiffs sought various forms of relief in one complaint, namely declaratory relief, medical

    monitoring, and compensatory damages. Plaintiffs’ Second Amended Consolidated Class Action

    Complaint at 114-15, 327 F.R.D. 245 (D. Minn 2018) (MDL No. 14-2551). But this case has in

    place a structure, set forth in Amended Pretrial Order # 31, that requires the filing of personal

    injury claims in the MPIC and not in the Class Complaints. Moreover, the CCCAC is larger and

    more complex than the complaint in In re National Hockey League: it contains over three hundred

    more counts (314 counts in this case as compared to the six counts alleged in In re National Hockey

    League), over fifty more proposed classes, and over 170 more named plaintiffs. A case of this size

    demands the utmost organization, that which was contemplated by the parties and the Court in the

    entry of Amended Pretrial Order # 31.

           The Court recognizes that although Amended Pretrial Order # 31 provides for all personal

    injury claims to be filed in the MPIC, that complaint is not a class complaint. Thus, the Injury

    Plaintiffs, without any prejudice to their substantive claims, may seek leave of Court for an

    alternative pleading to allege their class physical injury and/or medical monitoring claims. This

    approach is implicitly recognized as appropriate by the parties, insofar as the Injury Defendants

    have argued that these allegations do not belong in the CCCAC and the Injury Plaintiffs, at the

    Hearing, conceded that they would not be prejudiced by moving the allegations from the CCCAC

    to another pleading.




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    C. Economic Loss Doctrine

       1. Arguments and Allegations

           The Injury Defendants seek to dismiss CTPPCC Counts 5 (fraud), 6 (negligent

    misrepresentation and omission), 7 (consumer protection laws), and 9 (negligence) by relying on

    the economic loss doctrine, and argue that because the CTPPCC Plaintiffs are sophisticated

    commercial entities that allege purely economic losses, they cannot pursue tort law claims. DE

    2037 at 18. The Injury Defendants cite East River Steamship Corp. v. Transamerica Delaval, Inc.,

    476 U.S. 858 (1986), which “upheld the overwhelming ‘majority’ approach of the States,” namely

    “that preserving a proper role for the law of warranty precludes imposing tort liability if a defective

    product causes purely monetary harm.” Id. at 19 (quoting East River, 476 U.S. at 868). They state

    that they argue only one version of the economic loss doctrine: that “between commercial parties,

    claims for injury to the product itself without personal injury or other-property damage are

    contractual and not tort claims.” Id. at 20 n.9. The Injury Defendants argue that every state

    recognizes this “most basic iteration.” See DE 2498 at 153:7-13.

           The Injury Defendants’ reply brief includes cases reviewing certain states’ laws and

    holding that the economic loss doctrine bars commercial plaintiffs from bringing tort claims for

    purely economic losses. DE 2321 at 11-12. They also note that the Injury Plaintiffs provide no

    caselaw to refute the doctrine’s application, and that “Plaintiffs’ lack of substantive support . . . is

    not a failure of diligence, but futility because no jurisdictions would permit commercial entities in

    contract to recover tort damages for economic loss alone.” Id. at 12.

           The Injury Plaintiffs respond that East River is inapposite because it is a 1986 case that

    dealt with admiralty law. DE 2242 at 25. They argue that even if East River did, in fact, recognize

    a majority approach, the Injury Defendants did not identify which jurisdictions apply it. Id.




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    Further, they assert that general allegations that the Injury Plaintiffs’ state law claims fail is

    inadequate, because doing so does not help the Court evaluate the issue. Id. The Injury Defendants

    have the initial burden to demonstrate why the CTPPCC’s allegations fail under state law, which

    the Injury Plaintiffs can then refute. DE 2498 at 158:8-13. The Injury Plaintiffs claim that they

    “have responses on the merits and stand ready to brief the issue at a later stage.” DE 2242 at 26.

       2. Law on the Economic Loss Doctrine

           The economic loss doctrine is a judicially created rule establishing when a tort action is

    barred if a party only suffers economic losses. Global Quest, LLC v. Horizon Yachts, Inc., 849

    F.3d 1022, 1030 (11th Cir. 2017). “The rule was designed to prevent the application of tort

    remedies to traditional contract law damages.” Id.

           The economic loss doctrine is not applied identically across jurisdictions. East River

    recognizes a majority approach, a minority approach, and “[b]etween the two poles . . . a number

    of cases that would permit a products-liability action under certain circumstances.” 476 U.S. at

    868-69; see Garret W. Hunkins, The Current State of the Economic Loss Doctrine As Applied to

    Intentional and Negligent Misrepresentation Claims: A Comparative Analysis, 84 UMKC L. REV.

    1085, 1092 (2016) (“The majority view of the economic loss doctrine is contrasted by a minority

    view, which prohibits applying the economic loss doctrine to commercial transactions.”); see also

    Jeffrey L. Goodman, Daniel R. Peacock & Kevin J. Rutan, A Guide to Understanding the

    Economic Loss Doctrine, 67 DRAKE L. REV. 1, 16-35 (2019) (recognizing 28 states following the

    “majority rule,” 17 states following the “intermediate rule,” and the remaining states following the

    “minority rule”).

           There is some question as to whether every state recognizes the economic loss doctrine.

    See Ralph C. Anzivino, The Fraud in the Inducement Exception to the Economic Loss Doctrine,




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    90 MARQ. L. REV. 921, 925 n.23 (2007) (noting that Arkansas and Montana have rejected the

    economic loss doctrine). Yet under at least the majority view, which approximately 28 states

    follow, “a plaintiff may only recovery under a tort theory when there is a personal injury or damage

    to other property,” and “[i]f the plaintiff suffers purely economic loss, the plaintiff’s only avenue

    of recovery is through contract.” Goodman, 67 DRAKE L. REV. at 16-17.

       3. Analysis and Conclusion

           The Court declines to reach a conclusion on this issue based on the parties’ current briefing.

    The Court’s research reveals that many jurisdictions follow the version of the economic loss

    doctrine that the Injury Defendants argue. Yet CTPPCC Counts 5, 6, 7, and 9 are alleged under

    most or all states’ laws.

           The Injury Plaintiffs did not attempt to justify their pleading strategy, arguing that it is not

    their burden to indicate which states allow their tort claims. But they are now on notice of the

    Injury Defendants’ arguments, and Rule 11(b)(2) requires them to bring claims that “are warranted

    by existing law.” Fed. R. Civ. P. 11(b)(2). If they choose to replead any of those claims, they

    should only do so for the jurisdictions that permit the claims notwithstanding applicable states’

    economic loss rules. If the Injury Defendants still object to any tort claims brought in the amended

    CTPPCC, they have reserved their right to re-raise this issue in later Rule 12 briefing.

    D. Injunctive Relief in CCCAC

       1. Medical Monitoring as Injunctive Relief

           The Injury Defendants argue that the request in the CCCAC for a medical monitoring

    injunction is improper because the sought-after medical monitoring is actually a request for

    monetary damages. DE 2037 at 21. The Injury Plaintiffs respond that this argument is procedurally

    improper. DE 2242 at 26. They assert that Rule 12 does not permit the Injury Defendants to ask




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    the Court to label the request as something other than “injunctive” relief, and point out that, by the

    Injury Defendants’ own admission, they only move “as to the request for an injunction and reserve

    the arguments that the Consumer Plaintiffs failed to state claims for medical monitoring under

    applicable states’ laws.” Id. (quoting DE 2037 at 21 n.10). The Injury Plaintiffs suggest that this

    is a Rule 23 matter.

           Rule 8(a)(3) requires that a pleading contain “a demand for the relief sought, which may

    include relief in the alternative or different types of relief.” Fed. R. Civ. P. 8(a)(3). The Injury

    Plaintiffs have done so in the CCCAC. Notwithstanding their request for a fund to pay for medical

    monitoring, the Court concludes this issue is more appropriate for briefing at the class certification

    stage. As the Injury Plaintiffs note, none of cases that the Injury Defendants cite for support were

    decided on a Rule 12 motion, and nearly all of them were adjudicated at the Rule 23 stage. See,

    e.g., Zinser v. Accufix Rsch. Inst., Inc., 253 F.3d 1180 (9th Cir. 2001); see also Barraza v. C.R.

    Bard Inc., 322 F.R.D. 369 (D. Ariz. 2017). Reserving the issue until class certification will enable

    the Injury Plaintiffs to more precisely determine the nature of the medical monitoring sought. That

    will in turn aid the Court, for with greater precision, it can more effectively evaluate and determine

    the nature of the request.

       2. Ceasing Marketing and Selling Ranitidine

           The Injury Defendants also argue that the request to cease marketing and selling ranitidine

    is moot. DE 2037 at 23. They state that they have ceased selling ranitidine, that the Court cannot

    enjoin conduct that is not happening, and that before future sales could resume, “one must assume

    (1) that the medications will have been shown to be safe and effective and (2) that [the] FDA will

    have approved the medications for sale.” DE 2321 at 15-16. The Injury Plaintiffs state that that is

    not the standard for mootness. DE 2242 at 28. They argue that because the Injury Defendants




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    engaged in a decades-long conspiracy, withdrew ranitidine merely because of anticipated

    litigation, and have not acknowledged liability, the request is not moot. Id. at 28-30.

            Article III of the Constitution limits federal courts to adjudicating live cases or

    controversies. Siegel v. LePore, 234 F.3d 1163, 1172 (11th Cir. 2000). That requirement “subsists

    through all stages of federal judicial proceedings, trial and appellate.” Id. “A claim for injunctive

    relief may be moot if: (1) it can be said with assurance that there is no reasonable expectation that

    the alleged violation will recur and (2) interim relief or events have completely and irrevocably

    eradicated the effects of the alleged violation.” Reich v. Occupational Safety & Health Rev.

    Comm’n, 102 F.3d 1200, 1201 (11th Cir. 1997) (quoting Cnty. of Los Angeles v. Davis, 440 U.S.

    625, 631 (1979)). When a court considers whether it lacks jurisdiction due to mootness, it looks

    at the events at the present time, rather than when the complaint was filed. Dow Jones & Co. v.

    Kaye, 256 F.3d 1251, 1254 (11th Cir. 2001).

            The Court concludes that the Injury Plaintiffs’ request is not moot. Given that all ranitidine

    products were voluntarily recalled, it cannot be said with assurance that there is no reasonable

    expectation that the Injury Defendants will resume selling ranitidine. The first prong of Reich is

    thus not satisfied. Nor have the Injury Defendants set forth any reasons why the second prong is

    satisfied.

                                              X. Conclusion

            For the foregoing reasons, it is ORDERED AND ADJUDGED that Defendants’ Motion

    to Dismiss and/or Strike Master Personal Injury Complaint on Grounds of Impermissible Shotgun

    Pleading and Incorporated Memorandum of Law is GRANTED; Defendants’ Amended Motion

    to Dismiss and/or Strike Consolidated Consumer and Third Party Payor Class Action Complaints

    on Grounds of Impermissible Shotgun Pleading and Lack of Article III Standing and Incorporated




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    Memorandum of Law is GRANTED IN PART AND DENIED IN PART; and The Generic

    Manufacturers’ and Repackagers’ Rule 12 Motion to Dismiss Consolidated Consumer and Third-

    Party Payor Class Action Complaints on the Ground of Failure to Allege an Injury and

    Incorporated Memorandum of Law is DENIED.

          1. The Master Personal Injury Complaint, Consolidated Consumer Class Action

              Complaint, and Consolidated Third Party Payor Class Complaint are DISMISSED

              WITHOUT PREJUDICE AND WITH LEAVE TO AMEND consistent with this

              Order.

          2. All claims and allegations of physical injury and medical monitoring in the CCCAC,

              including Counts 45, 67, 139, 167, 238, 280 and 302, are STRICKEN WITHOUT

              PREJUDICE.       The Injury Plaintiffs may seek leave of Court for an alternative

              pleading to allege their class physical injury and/or medical monitoring claims.

          3. Under Pretrial Order # 36, the repled Master Complaints are due 30 days after the Court

              issues its Order on Article III standing. DE 1346 at 4. The Court AMENDS that

              requirement in Pretrial Order # 36. The repled Master Complaints are due 30 days after

              the Court issues its forthcoming Order on Branded Defendants’ Rule 12 Partial Motion

              to Dismiss Plaintiffs’ Three Complaints as Preempted by Federal Law. DE 1580. All

              other requirements in Pretrial Order # 36 remain in place.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 31st day of

    December, 2020.



                                                       _______________________________
                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE




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